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                                                      Objection Deadline: April 14, 2023

PACHULSKI STANG ZIEHL & JONES LLP
James I. Stang, Esq. (admitted pro hac vice)
10100 Santa Monica, Boulevard, 13th Floor
Los Angeles, California 90067
Telephone: (310) 277-6910
Facsimile:     (310) 201-0760
Email:         jstang@pszjlaw.com

-and-

Ilan D. Scharf, Esq.
Karen B. Dine, Esq.
Gillian N. Brown, Esq.
Brittany M. Michael, Esq.
780 Third Avenue, 36th Floor
New York, New York 10017
Telephone:     (212) 561-7700
Facsimile:     (212) 561-7777
Email:         ischarf@pszjlaw.com
               kdine@pszjlaw.com
               gbrown@pszjlaw.com
               bmichael@pszjlaw.com

Counsel for the Official Committee
of Unsecured Creditors of The Roman Catholic Diocese
of Rockville Centre, New York

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


 In re:                                                 Chapter 11
 THE ROMAN CATHOLIC DIOCESE OF                          Case No. 20-12345 (SCC)
 ROCKVILLE CENTRE, NEW YORK,
                     Debtor.


           TWENTY-SIXTH MONTHLY FEE STATEMENT OF PACHULSKI
            STANG ZIEHL & JONES LLP FOR PROFESSIONAL SERVICES
            RENDERED AND DISBURSEMENTS INCURRED AS COUNSEL
         TO THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS FOR
        THE PERIOD FROM FEBRUARY 1, 2023 THROUGH FEBRUARY 28, 2023




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 Name of Applicant:                                                   Pachulski Stang Ziehl & Jones LLP
 Authorized to Provide Professional Services                          Official Committee of Unsecured Creditors
 to:
                                                                      Effective October 16, 2020 pursuant to Order
 Date of Retention:
                                                                      dated November 17, 2020 [Docket No.163]
 Period for which Compensation and
                                                                      February 1, 2023 – February 28, 20231
 Reimbursement is Sought:
 Amount of Compensation Sought as Actual,
                                                                      $912,311.60 (80% of $1,140,389.50)
 Reasonable and Necessary:
 Amount of Expense Reimbursement Sought
                                                                      $37,241.71
 as Actual, Reasonable and Necessary:

This is a:            x Monthly                Interim              Final Application.

                                                   Preliminary Statement

          Pachulski Stang Ziehl & Jones LLP (“PSZ&J”), attorneys for the Official Committee of

Unsecured Creditors (the “Committee”) of The Roman Catholic Diocese of Rockville Centre,

New York (the “Debtor”), hereby submits this statement of fees and disbursements (the

“Monthly Statement”) for the period from February 1, 2023 through February 28, 2023 (the

“Compensation Period”) in accordance with the Order Authorizing Procedures for Interim

Compensation and Reimbursement of Expenses of Professionals, dated November 4, 2020

[Docket No. 129] (the “Interim Compensation Order”). PSZ&J requests (a) interim allowance

and payment of compensation in the amount of $912,311.60 (80% of $1,140,389.50) for fees on

account of reasonable and necessary professional services rendered to the Committee by

PSZ&J;2 and (b) reimbursement of actual and necessary costs and expenses in the amount of

$37,241.71. PSZ&J reserves the right to apply in the future for reimbursement of actual and




1 The applicant reserves the right to include any time expended in the time period indicated above in future application(s) if it is

not included herein.
2 PSZJ will hold ten percent of all fees received in this Case in a trust account to benefit this Case’s tort claimants. The funds

will be held until a trust is established through a plan of reorganization. If no such trust is created, the funds will be donated to a
child advocacy organization to be selected by the Committee at the conclusion of the Case.



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necessary costs and expenses, if any, incurred by members of the Committee in connection with

their service as members of the Committee during the Compensation Period.

                        Services Rendered During the Compensation Period

                   Exhibit A sets forth a timekeeper summary that includes the respective names,

positions, department, bar admissions, hourly billing rates and aggregate hours spent by each

PSZ&J professional and paraprofessional that provided services to the Committee during the

Compensation Period. The rates charged by PSZ&J for services rendered to the Committee are

the same rates that PSZ&J charges generally for professional services rendered to its non-

bankruptcy clients.

                   Exhibit B sets forth a task code summary that includes the aggregate hours per

task code spent by PSZ&J professionals and paraprofessionals in rendering services to the

Committee during the Compensation Period.

                   Exhibit C sets forth a disbursement summary that includes the aggregate

expenses, organized by general disbursement categories, incurred by PSZ&J in connection with

services rendered to the Committee during the Compensation Period.

                   Exhibit D sets forth a complete itemization of all time records for PSZ&J

professionals and paraprofessionals for the Compensation Period.

                                      Notice and Objection Procedures

                   No trustee or examiner has been appointed in this chapter 11 case. Notice of the

Monthly Statement has been served by electronic mail and/or U.S. First Class Mail upon: (a) the

Debtor c/o The Roman Catholic Diocese of Rockville Centre, 50 N Park Ave P.O. Box 9023,

Rockville Centre, NY 11571-9023 (Attn: Thomas Renker); (b) the attorneys for the Debtor,

Jones Day, 250 Vesey Street, New York, NY 10281 (Attn: Corinne Ball, Esq., Benjamin




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Rosenblum, Esq. and Andrew M. Butler, Esq.); and (c) the Office of the United States Trustee

Region 2, 201 Varick Street, Suite 1006, New York, NY 10014 (Attn: Greg Zipes, Esq. and

Shara Cornell, Esq.). PSZ&J submits that no other or further notice need be provided.

                   Pursuant to the Interim Compensation Order, objections to this Application, if

any, must be served upon the undersigned counsel for the Committee and all persons identified at

paragraph 5, above, by April 14, 2023 (the “Objection Deadline”), setting forth the nature of the

objection and the amount of fees or expenses at issue.

                   If no objections to this Monthly Statement are made on or before the Objection

Deadline, the Debtor shall pay PSZ&J 80% of the fees and 100% of the expenses set forth above.

                   To the extent an objection to this Monthly Statement is timely made, the Debtor

shall withhold payment of that portion of the Monthly Statement to which the objection is

directed and promptly pay the remainder of the fees and disbursements in the percentages set




                               [remainder of page left intentionally blank]




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forth above. To the extent such objection is not resolved, it shall be preserved and presented to

the Court at the next interim or final fee application hearing.

                                               PACHULSKI STANG ZIEHL & JONES LLP
 Dated: March 30, 2023
                                                /s/ Gillian N. Brown
                                               James I. Stang, Esq.
                                               10100 Santa Monica, Boulevard, 11th Floor
                                               Los Angeles, California 90067
                                               Telephone: (310) 277-6910
                                               Facsimile: (310) 201-0760
                                               Email: jstang@pszjlaw.com

                                               -and-

                                               Ilan D. Scharf, Esq.
                                               Karen B. Dine, Esq.
                                               Gillian N. Brown, Esq.
                                               Brittany M. Michael, Esq.
                                               780 Third Avenue, 36th Floor
                                               New York, New York 10017
                                               Telephone: (212) 561-7700
                                               Facsimile: (212) 561-7777
                                               Email:
                                               ischarf@pszjlaw.com
                                               kdine@pszjlaw.com
                                               gbrown@pszjlaw.com
                                               bmichael@pszjlaw.com

                                                Counsel to the Official Committee of Unsecured
                                                Creditors of The Roman Catholic Diocese of
                                                Rockville Centre, New York




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                                          EXHIBIT A

                                      Timekeeper Summary

NAME OF PROFESSIONAL          TITLE     YEAR OF      YEAR OF     HOURLY      TOTAL        TOTAL
                                       ADMISSION   PARTNERSHIP    RATE       HOURS     COMPENSATION
                                                                             BILLED




James I. Stang          Partner          1980         1983       $1,695.00    41.40      $70,173.00
Iain A.W. Nasatir       Partner          1983         1998       $1,395.00    43.50      $60,682.50
Alan J. Kornfeld        Partner          1987         1996       $1,675.00      5.80      $9,715.00
Kenneth H. Brown        Partner          1981         2001       $1,525.00    80.90     $123,372.50
John A. Morris          Partner          1991         2008       $1,550.00      0.20        $310.00
John W. Lucas           Partner          2005         2014       $1,150.00    21.20      $24,380.00
Malhar S. Pagay         Partner          1997      2003/2020     $1,295.00    46.10      $59,699.50
Harry D. Hochman        Associate        1987         N/A        $1,350.00    11.30      $15,255.00
Edward A. Corma         Associate        2018         N/A         $725.00     14.60      $10,585.00
Judith Elkin            Counsel          1981         N/A        $1,450.00   112.10     $162,545.00
Beth E. Levine          Counsel          1993         N/A        $1,095.00    29.30      $32,083.50
Tavi C. Flanagan        Counsel          1993         N/A        $1,075.00    27.20      $29,240.00
Gail S. Greenwood       Counsel          1994         N/A        $1,095.00   110.70     $121,216.50
Karen B. Dine           Counsel          1994         N/A        $1,395.00   150.10     $209,389.50
Jeffrey M. Dine         Counsel          1996         N/A        $1,395.00    29.50      $41,152.50
Gillian N. Brown        Counsel          1999         N/A         $975.00     10.80      $10,530.00
Cia H. Mackle           Counsel          2006         N/A         $925.00       0.20        $185.00
Brittany M. Michael     Counsel          2015         N/A         $875.00    158.90     $139,037.50
La Asia Canty           Paralegal        N/A          N/A         $545.00       1.50        $817.50
Diane H. Hinojosa       Paralegal        N/A          N/A         $395.00       4.60      $1,817.00
Kerri L. LaBrada        Paralegal        N/A          N/A         $545.00     33.40      $18,203.00
Totals                                                                       933.30    $1,140,389.50




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                                           EXHIBIT B

                                      Task Code Summary

       Code                           Description                Hours       Amount
        CA         Case Administration                            7.30        $8,324.50
       CEM         Cemetery Transfers                             8.40       $11,235.00
        CO         Claims Admin/Objections                      158.10      $174,397.50
       CPO         Compensation of Professionals/Others           1.60        $1,660.00
       CRF         Committee Discovery Requests –
                                                                 19.10       $24,698.50
                   Finance/Governance
       IAC         IAC/Affiliate Transactions                    17.30        $20,820.50
        IL         Insurance Litigation                           1.90         $2,650.50
      LEAS         Lease                                         13.80        $10,493.00
        LR         Lien Review                                    0.30           $163.50
      MCC          Mtgs/Conf w/Client                            44.10        $55,512.00
      MCP          Mtgs/Conf w/Cmte Profs                         2.80         $4,596.00
       ME          Mediation                                     21.20        $26,606.00
       MF          Mtgs/Conf w/ Case Prof.                        2.90         $3,511.50
      MFA          Monthly Fee Statements                         9.40         $6,364.00
      MOCP         Mtgs/Conf w/other Case Parties                 7.50        $10,136.50
      OPH          Open Court Hearing                             8.40        $10,049.00
        PD         Plan & Disclosure Stmt.                      308.30      $408,446.00
      PDJD         Diocese Plan/Disclosure Stmt                  92.90      $113,128.50
      PINJ         Preliminary Injunction                       205.90      $245,174.50
       RPO         Ret of Prof/Others                             1.60         $1,686.00
      SEM          Seminary Transfers                             0.50           $736.50
                   TOTAL                                        933.50     $1,140,389.50




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                                        EXHIBIT C

                                  Disbursement Summary


                       Expenses (by Category)                  Amounts
            Air Fare                                                $999.30
            Auto Travel Expense                                     $199.40
            Bloomberg                                                $10.00
            Working Meals                                            $43.20
            Conference Call                                           $2.31
            Federal Express                                          $78.00
            Lexis/Nexis – Legal Research                          $1,079.22
            Outside Services                                     $29,629.50
            Pacer – Court Research                                   $14.60
            Postage                                                  $35.22
            Reproduction/Scan Copy                                  $643.90
            Research                                                 $90.50
            Travel Expense                                          $447.51
            Transcript                                            $3,969.05
            TOTAL                                                $37,241.71




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                                        EXHIBIT D




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                               Pachulski Stang Ziehl & Jones LLP
                                        10100 Santa Monica Blvd.
                                               13th Floor
                                         Los Angeles, CA 90067
                                                                    March 20, 2023
JIS                                                                 Invoice 132042
                                                                    Client   18491
                                                                    Matter   00002
                                                                             JIS

RE: Committee Representation

 _______________________________________________________________________________________

         STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 02/28/2023
               FEES                                                $1,140,389.50
               EXPENSES                                              $37,241.71
               TOTAL CURRENT CHARGES                               $1,177,631.21

               BALANCE FORWARD                                     $2,320,468.77
               LAST PAYMENT                                         $476,858.72
               TOTAL BALANCE DUE                                   $3,021,241.26
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  Summary of Services by Professional
  ID        Name                                Title                Rate           Hours              Amount

 AJK        Kornfeld, Alan J.                   Partner            1675.00           5.80            $9,715.00

 BEL        Levine, Beth E.                     Counsel            1095.00          29.30           $32,083.50

 BMM        Michael, Brittany M.                Counsel             875.00         158.90       $139,037.50

 CHM        Mackle, Cia H.                      Counsel             925.00           0.20             $185.00

 DHH        Hinojosa, Diane H.                  Paralegal           395.00           4.60            $1,817.00

 ECO        Corma, Edward A.                    Associate           725.00          14.60           $10,585.00

 GNB        Brown, Gillian N.                   Counsel             975.00          10.80           $10,530.00

 GSG        Greenwood, Gail S.                  Counsel            1095.00         110.70       $121,216.50

 HDH        Hochman, Harry D.                   Counsel            1350.00          11.30           $15,255.00

 IAWN       Nasatir, Iain A. W.                 Partner            1395.00          43.50           $60,682.50

 JAM        Morris, John A.                     Partner            1550.00           0.20             $310.00

 JE         Elkin, Judith                       Counsel            1450.00         112.10       $162,545.00

 JIS        Stang, James I.                     Partner            1695.00          41.40           $70,173.00

 JMD        Dine, Jeffrey M.                    Counsel            1395.00          29.50           $41,152.50

 JWL        Lucas, John W.                      Partner            1150.00          21.20           $24,380.00

 KBD        Dine, Karen B.                      Counsel            1395.00         150.10       $209,389.50

 KHB        Brown, Kenneth H.                   Partner            1525.00          80.90       $123,372.50

 KLL        LaBrada, Kerri L.                   Paralegal           545.00          33.40           $18,203.00

 LSC        Canty, La Asia S.                   Paralegal           545.00           1.50             $817.50

 MSP        Pagay, Malhar S.                    Partner            1295.00          46.10           $59,699.50

 TCF        Flanagan, Tavi C.                   Counsel            1075.00          27.20           $29,240.00

                                                                                  933.30       $1,140,389.50
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  Summary of Services by Task Code
  Task Code         Description                                               Hours                        Amount

 CA                 Case Administration [B110]                                  7.30                      $8,324.50

 CEM                Cemetery Transfers                                          8.40                     $11,235.00

 CO                 Claims Admin/Objections[B310]                             158.10                    $174,397.50

 CPO                Comp. of Prof./Others                                       1.60                      $1,660.00

 CRF                CmteDisc Reqs- Finance/Govern                              19.10                     $24,698.50

 IAC                IAC/Affiliate Transactions                                 17.30                     $20,820.50

 IL                 Insurance Litigation                                        1.90                      $2,650.50

 LEAS               Lease                                                      13.80                     $10,493.00

 LR                 Lien Review                                                 0.30                       $163.50

 MCC                Mtgs/Conf w/Client                                         44.10                     $55,512.00

 MCP                Mtgs/Conf w/Cmte Profs                                      2.80                      $4,596.00

 ME                 Mediation                                                  21.20                     $26,606.00

 MF                 Mtgs/Conf w/ Case Prof.                                     2.90                      $3,511.50

 MFA                Monthly Fee Statements                                      9.40                      $6,364.00

 MOCP               Mtgs/Conf w/other Case Parties                              7.50                     $10,136.50

 OPH                Open Court Hearing                                          8.40                     $10,049.00

 PD                 Plan & Disclosure Stmt. [B320]                            308.30                    $408,446.00

 PDJD               Diocese Plan/Disclosure Stmt.                              92.90                    $113,128.50

 PINJ               Preliminary Injunction                                    205.90                    $245,174.50

 RPO                Ret. of Prof./Other                                         1.60                      $1,686.00

 SEM                Seminary Transfers                                          0.50                       $736.50

                                                                              933.30               $1,140,389.50
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  Summary of Expenses
  Description                                                                                Amount
Air Fare [E110]                                                                             $999.30
Auto Travel Expense [E109]                                                                  $199.40
Bloomberg                                                                                    $10.00
Working Meals [E111]                                                                         $43.20
Conference Call [E105]                                                                           $2.31
Federal Express [E108]                                                                       $78.00
Lexis/Nexis- Legal Research [E                                                            $1,079.22
Outside Services                                                                         $29,629.50
Pacer - Court Research                                                                       $14.60
Postage [E108]                                                                               $35.22
Reproduction/ Scan Copy                                                                     $643.90
Research [E106]                                                                              $90.50
Travel Expense [E110]                                                                       $447.51
Transcript [E116]                                                                         $3,969.05

                                                                                         $37,241.71
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                                                                                     Hours            Rate     Amount

  Case Administration [B110]
 02/01/2023   IAWN CA           Telephone call with team regarding status             1.50       1395.00       $2,092.50
                                conference (part of)

 02/02/2023   JIS     CA        Call with PSZJ team regarding WIP list on plan,       1.70       1695.00       $2,881.50
                                disclosure statement, preliminary injunction and
                                other case issues.

 02/02/2023   MSP     CA        Review open items and work-in-process.                0.10       1295.00        $129.50

 02/02/2023   BMM     CA        Prepare work-in-progress for team meeting.            0.40        875.00        $350.00

 02/07/2023   KLL     CA        Update critical dates memo.                           0.30        545.00        $163.50

 02/15/2023   MSP     CA        Review open pending action items.                     0.10       1295.00        $129.50

 02/15/2023   KLL     CA        Review/update WIP for team meeting and circulate      0.20        545.00        $109.00
                                same.

 02/16/2023   IAWN CA           Telephone call with team regarding WIP.               0.80       1395.00       $1,116.00

 02/16/2023   KLL     CA        Review case dockets for work flow scheduling          0.30        545.00        $163.50
                                purposes.

 02/17/2023   KLL     CA        Update scheduling memo on motion to amend             0.30        545.00        $163.50
                                claims objection procedure order.

 02/21/2023   KLL     CA        Submit transcript request re today's status           0.30        545.00        $163.50
                                conference.

 02/22/2023   GSG     CA        Emails to/from K. LaBrada re calendaring and          0.10       1095.00        $109.50
                                status.

 02/22/2023   BMM     CA        Update WIP in advance of team meeting.                0.30        875.00        $262.50

 02/22/2023   KLL     CA        Correspond with B. Michael on procedures for          0.30        545.00        $163.50
                                service of filings.

 02/23/2023   KLL     CA        Correspond with transcriber on hearing transcript     0.20        545.00        $109.00
                                status.

 02/28/2023   KLL     CA        Review case details re Mayhaven Center of Hope for    0.40        545.00        $218.00
                                B. Michael.

                                                                                       7.30                    $8,324.50

  Cemetery Transfers
 02/01/2023   KHB     CEM       Call with BRG team re ability to pay analysis.        0.70       1525.00       $1,067.50

 02/02/2023   KHB     CEM       Telephone call with J. Boriello re ability to pay     0.50       1525.00        $762.50
                                analysis stipulation (.2); emails with BRG and
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                                                                                       Hours            Rate       Amount
                                CemCo counsel re ability to pay presentation (.3).
 02/03/2023   KHB     CEM       Review assumptions on ability to pay analysis and       1.70       1525.00        $2,592.50
                                emails with BRG re same (1.3); emails with J.
                                Borriello re assumptions and re stipulation on
                                sharing assumptions (.4).

 02/03/2023   GSG     CEM       Review stipulation re settlement discussions and        0.20       1095.00         $219.00
                                related emails.

 02/03/2023   GSG     CEM       Review assumptions from P. Shields.                     0.50       1095.00         $547.50

 02/03/2023   GSG     CEM       Review revisions to stipulation re settlement           0.20       1095.00         $219.00
                                discussions and emails to/from J. Borriello.

 02/07/2023   KHB     CEM       Call with BRG and CemCo are sharing of ability to       1.30       1525.00        $1,982.50
                                pay analysis (1.1); emails with BRG re follow-up
                                issues (.2).

 02/07/2023   GSG     CEM       Conference call with CemCo counsel, PSZJ, and           1.10       1095.00        $1,204.50
                                BRG re settlement presentation and discussion.

 02/07/2023   BMM     CEM       (Partial) Call with Cemco and BRG re settlement         1.00        875.00         $875.00
                                presentation.

 02/17/2023   KHB     CEM       Email from F. Oswald re settlement discussions (.2);    0.30       1525.00         $457.50
                                emails to B. Michael, K. Dine and G. Greenwood re
                                same (.1).

 02/21/2023   KHB     CEM       Emails with F. Oswald re settlement discussions and     0.40       1525.00         $610.00
                                ability to pay analysis.

 02/24/2023   KBD     CEM       Analyze financial information from CemCo.               0.50       1395.00         $697.50

                                                                                         8.40                    $11,235.00

  Claims Admin/Objections[B310]
 02/01/2023   JE      CO        Research issues relating to parish claims.              3.60       1450.00        $5,220.00

 02/02/2023   MSP     CO        Email exchange with B. Michael, P. Mones, J.            0.10       1295.00         $129.50
                                Merson, et al. re: abuse claims reviewer.

 02/02/2023   DHH     CO        Emails from/to B. Michael and update claims             0.10        395.00          $39.50
                                summary chart regarding withdrawal of 2 claims.

 02/02/2023   JE      CO        Review case law on 502(e).                              0.80       1450.00        $1,160.00

 02/02/2023   JE      CO        Review various State Court Actions.                     1.70       1450.00        $2,465.00

 02/02/2023   JE      CO        Correspondence with G. Greenwood regarding              0.30       1450.00         $435.00
                                contribution and indemnification claims and
                                document production.
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 02/02/2023   JE      CO        Work on memo on claim objection issues relating to       2.60      1450.00       $3,770.00
                                parish claims.

 02/02/2023   BMM     CO        Review information regarding SIRs for non-abuse          0.40       875.00        $350.00
                                claims.

 02/02/2023   BMM     CO        Communications with state court counsel regarding        0.40       875.00        $350.00
                                claims objections and other cases issues.

 02/03/2023   JIS     CO        Review 3d omnibus claims objections.                     0.10      1695.00        $169.50

 02/03/2023   JIS     CO        Review Debtor's omnibus objection based on               0.30      1695.00        $508.50
                                prepetitiion releases.

 02/03/2023   MSP     CO        Email exchange with J. Stang, et al. re: claims          0.10      1295.00        $129.50
                                objections.

 02/03/2023   GSG     CO        Review Diocese omnibus claim objection re                0.20      1095.00        $219.00
                                amended/duplicate claims.

 02/03/2023   JE      CO        Review article on legal developments in sexual           1.60      1450.00       $2,320.00
                                abuse claims.

 02/03/2023   JE      CO        Work on memo on claim objection issues relating to       3.10      1450.00       $4,495.00
                                parish claims.

 02/03/2023   KBD     CO        Review claims objection.                                 0.20      1395.00        $279.00

 02/04/2023   JE      CO        Work on memo on claim objection issues relating to       3.50      1450.00       $5,075.00
                                parish claims.

 02/05/2023   JE      CO        Work on memo on claim objection issues relating to       4.30      1450.00       $6,235.00
                                parish claims.

 02/06/2023   JE      CO        Work on memo on claim objection issues.                  4.50      1450.00       $6,525.00

 02/06/2023   BMM     CO        Communications with state court counsel regarding        1.20       875.00       $1,050.00
                                claims objections and other cases issues.

 02/07/2023   JE      CO        Finalize memo on claim objection issues and              5.70      1450.00       $8,265.00
                                distribute.

 02/07/2023   KBD     CO        Analyze legal issues relating to claims.                 0.50      1395.00        $697.50

 02/08/2023   JIS     CO        (Partial) Review of memo regarding                       0.70      1695.00       $1,186.50
                                indemnity/contribution claims.

 02/08/2023   BMM     CO        Research related to parish claims.                       4.70       875.00       $4,112.50

 02/09/2023   JIS     CO        Review issues related to Court jurisdiction on claims    0.30      1695.00        $508.50
                                objections.

 02/09/2023   MSP     CO        Email exchange with B. Michael, et al. re: claim         0.10      1295.00        $129.50
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                                                                                         Hours           Rate     Amount
                                objections.
 02/09/2023   KBD     CO        Analyze issues relating to claims objections.             1.30      1395.00       $1,813.50

 02/09/2023   BMM     CO        Research related to parish claims.                        2.10       875.00       $1,837.50

 02/09/2023   BMM     CO        Analyze parish proofs of claim.                           2.00       875.00       $1,750.00

 02/09/2023   BMM     CO        Analyze parish proofs of claim.                           1.50       875.00       $1,312.50

 02/09/2023   BMM     CO        Analyze new list of claims to which the Diocese           1.30       875.00       $1,137.50
                                intends to object.

 02/09/2023   KLL     CO        Upload various claims objections to VFR.                  0.40       545.00        $218.00

 02/10/2023   MSP     CO        Email exchange with B. Michael, counsel, et al. re:       0.10      1295.00        $129.50
                                claims objections.

 02/10/2023   KBD     CO        Email B. Michael regarding claims issues.                 0.20      1395.00        $279.00

 02/10/2023   KBD     CO        Analyze legal issues relating to claim objection.         0.80      1395.00       $1,116.00

 02/10/2023   KBD     CO        Analyze claim objection filed by Jones Day.               0.60      1395.00        $837.00

 02/10/2023   KBD     CO        Attention to correspondence with SCC regarding            0.30      1395.00        $418.50
                                claims objections.

 02/10/2023   BMM     CO        Research related to parish claims.                        4.50       875.00       $3,937.50

 02/10/2023   BMM     CO        Communications with SCC regarding claims                  0.40       875.00        $350.00
                                objections.

 02/10/2023   BMM     CO        Research related to parish claims.                        2.30       875.00       $2,012.50

 02/10/2023   KLL     CO        Retrieve docket relating to state court actions for G.    0.40       545.00        $218.00
                                Brown.

 02/11/2023   JE      CO        Review and revise draft letter to claimants’ counsel      1.00      1450.00       $1,450.00
                                regarding objection to claims including review of
                                certain cases relating to trusts.

 02/11/2023   JE      CO        Review and comment on revised draft letter to             0.50      1450.00        $725.00
                                claimants’ counsel regarding objection to claims,
                                including review of inserted case cited.

 02/11/2023   JE      CO        Correspondence with J. Stang, B. Michael and K.           0.10      1450.00        $145.00
                                Dine regarding revisions to letter to claimants'
                                counsel.

 02/11/2023   JE      CO        Review correspondence from debtor's counsel to            0.40      1450.00        $580.00
                                survivors' counsel and case law cited therein.

 02/11/2023   KBD     CO        Analyze draft correspondence relating to objections       0.30      1395.00        $418.50
                                to claims.
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 02/11/2023   KBD     CO        Analyze information relating to claims objections.        0.60      1395.00        $837.00

 02/11/2023   BMM     CO        Research related to parish claims.                        3.00       875.00       $2,625.00

 02/13/2023   MSP     CO        Email exchange with B. Michael, J. Amala, J.              0.30      1295.00        $388.50
                                Merson, P. Mones, et al. re: future claims.

 02/13/2023   JE      CO        Discussion via email with B. Michael and K. Dine          0.50      1450.00        $725.00
                                regarding basis for filing objections to parish claims
                                and comparative liability case law cited by debtor in
                                correspondence with counsel for plaintiffs.

 02/13/2023   KBD     CO        Review correspondence among PSZJ and Jones Day            0.10      1395.00        $139.50
                                regarding claims matters.

 02/13/2023   KBD     CO        Analyze issues relating to objection to parish claims.    0.70      1395.00        $976.50

 02/13/2023   BMM     CO        Draft objection to parish claims.                         7.40       875.00       $6,475.00

 02/13/2023   KLL     CO        Assist in finalizing claim objection letters re parish    2.70       545.00       $1,471.50
                                claims.

 02/13/2023   KLL     CO        Review claims for attorney information for B.             0.50       545.00        $272.50
                                Michael.

 02/14/2023   IAWN CO           Telephone call with B. Michael regarding claims           0.10      1395.00        $139.50
                                objections.

 02/14/2023   MSP     CO        Email exchange with B. Michael, et al. re: future         0.10      1295.00        $129.50
                                claims information.

 02/14/2023   KBD     CO        Analyze materials regarding claims objection.             0.30      1395.00        $418.50

 02/14/2023   KBD     CO        Review letters regarding claims objection.                0.30      1395.00        $418.50

 02/14/2023   KBD     CO        Prepare comments to motion regarding omnibus              0.30      1395.00        $418.50
                                objection to claims.

 02/14/2023   BMM     CO        Draft motion to amend claims objection procedure          1.00       875.00        $875.00
                                order.

 02/14/2023   BMM     CO        Draft claims objection.                                   1.70       875.00       $1,487.50

 02/14/2023   BMM     CO        Draft motion to amend claims objection procedure          1.60       875.00       $1,400.00
                                order.

 02/14/2023   BMM     CO        Call with I. Nasatir regarding claims objections.         0.10       875.00         $87.50

 02/14/2023   BMM     CO        Review materials related to previous future claims        0.40       875.00        $350.00
                                allocations.

 02/15/2023   MSP     CO        Email exchange with B. Michael, J. Lucas, et al. re:      0.10      1295.00        $129.50
                                future claims.
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 02/15/2023   JE      CO        Correspondence with B. Michael regarding claim        0.20      1450.00        $290.00
                                objections.

 02/15/2023   KBD     CO        Analyze information regarding claims objections.      0.80      1395.00       $1,116.00

 02/15/2023   KBD     CO        Call with S. Codd, M. Allen and B. Michael            0.60      1395.00        $837.00
                                regarding claims objections.

 02/15/2023   KBD     CO        Calls with B. Michael regarding claims matters.       1.00      1395.00       $1,395.00

 02/15/2023   BMM     CO        Calls with K. Dine regarding parish objections and    1.00       875.00        $875.00
                                other case issues.

 02/15/2023   BMM     CO        Call with SCC and K. Dine regarding claims            0.60       875.00        $525.00
                                objection.

 02/15/2023   BMM     CO        Answer SCC questions regarding claims objections.     0.70       875.00        $612.50

 02/16/2023   IAWN CO           Telephone conference with SCC regarding claims        0.50      1395.00        $697.50
                                objections (part of).

 02/16/2023   IAWN CO           Exchange emails and telephone calls with Hull and     0.10      1395.00        $139.50
                                Paulsen regarding meeting.

 02/16/2023   IAWN CO           Review summary of Judge Glenn decisions re            0.30      1395.00        $418.50
                                claims.

 02/16/2023   JIS     CO        Call with state court counsel to coordinate claims    0.60      1695.00       $1,017.00
                                objection issues.

 02/16/2023   MSP     CO        Email exchange with B. Michael, et al. re: future     0.10      1295.00        $129.50
                                claims information.

 02/16/2023   KBD     CO        Call with state court counsel regarding claims        0.60      1395.00        $837.00
                                objections.

 02/16/2023   KBD     CO        Email B. Michael regarding claims.                    0.10      1395.00        $139.50

 02/16/2023   BMM     CO        Telephone call with counsel regarding responses to    0.60       875.00        $525.00
                                claims objections.

 02/16/2023   BMM     CO        Communications with SCC regarding claims              0.50       875.00        $437.50
                                objections.

 02/16/2023   BMM     CO        Communications with SCC regarding claims              0.50       875.00        $437.50
                                objections.

 02/17/2023   KHB     CO        Emails with B. Michael re objections to parish        0.20      1525.00        $305.00
                                claims for indemnity and contribution.

 02/17/2023   JE      CO        Correspondence with K. Brown and B. Michael           0.50      1450.00        $725.00
                                regarding certain claim objection issues.
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 02/17/2023   KBD     CO        Review and finalize motion for filing regarding        0.40      1395.00        $558.00
                                claims.

 02/17/2023   KBD     CO        Analyze information regarding claims objections.       0.80      1395.00       $1,116.00

 02/17/2023   BMM     CO        Emails with counsel regarding claims objections.       0.90       875.00        $787.50

 02/17/2023   BMM     CO        Communication with counsel regarding claims            1.10       875.00        $962.50
                                objections.

 02/17/2023   BMM     CO        Meeting with counsel regarding claims objections.      0.70       875.00        $612.50

 02/17/2023   KLL     CO        Review and revise motion to amend claims objection     1.40       545.00        $763.00
                                procedures order.

 02/17/2023   KLL     CO        Prepare for filing notice of hearing re motion to      0.60       545.00        $327.00
                                amend claims objection procedures order.

 02/19/2023   BMM     CO        Draft claims objection.                                1.00       875.00        $875.00

 02/20/2023   JIS     CO        Review draft response to IRCP objection to claim.      0.30      1695.00        $508.50

 02/20/2023   BMM     CO        Update claims objection chart based on                 0.20       875.00        $175.00
                                communication with SCC.

 02/20/2023   BMM     CO        Communications with SCC regarding claims               2.20       875.00       $1,925.00
                                objections.

 02/20/2023   BMM     CO        Update claims objection chart based on                 1.20       875.00       $1,050.00
                                communication with SCC.

 02/20/2023   BMM     CO        Update claims objection chart based on                 0.20       875.00        $175.00
                                communication with SCC.

 02/20/2023   BMM     CO        Communications with SCC regarding claims               2.20       875.00       $1,925.00
                                objections.

 02/20/2023   BMM     CO        Update claims objection chart based on                 1.20       875.00       $1,050.00
                                communication with SCC.

 02/21/2023   MSP     CO        Email exchange with B. Michael, A. Kornfeld, et al.    0.20      1295.00        $259.00
                                re: Diocese claim data.

 02/21/2023   MSP     CO        Email exchange with B. Michael, counsel, et al. re:    0.10      1295.00        $129.50
                                next round of claims objections.

 02/21/2023   KBD     CO        Review claims objection filed by Diocese.              0.30      1395.00        $418.50

 02/21/2023   BMM     CO        Communication with counsel regarding claims            0.80       875.00        $700.00
                                objections.

 02/21/2023   BMM     CO        Prepare proposed order for court regarding claim       0.40       875.00        $350.00
                                objection procedures motion.
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 02/21/2023   BMM     CO        Draft objection to parish claims.                        1.00       875.00        $875.00

 02/21/2023   KLL     CO        Prepare various distribution groups re claims issues.    1.60       545.00        $872.00

 02/21/2023   KLL     CO        Order UCC filings re DRVC.                               0.30       545.00        $163.50

 02/22/2023   JIS     CO        Review draft objection to parish claims.                 0.90      1695.00       $1,525.50

 02/22/2023   KHB     CO        Review and revise objection to parish claims (.8);       1.20      1525.00       $1,830.00
                                emails with B. Michael re same (.4).

 02/22/2023   MSP     CO        Email exchange with B. Michael, J. Bair, J. Elkin, G.    0.20      1295.00        $259.00
                                Greenwood, et al. re: parish claim objection.

 02/22/2023   GSG     CO        Review/revise objection to parish claims.                0.60      1095.00        $657.00

 02/22/2023   GSG     CO        Review emails and comments from J. Stang, J. Elkin       0.30      1095.00        $328.50
                                and B. Michael re objection to parish claims.

 02/22/2023   JE      CO        Review and revise draft objection to parish claims.      1.80      1450.00       $2,610.00

 02/22/2023   JE      CO        Review case law in opposition to parish claims           0.40      1450.00        $580.00

 02/22/2023   JE      CO        Correspondence with B. Michael regarding                 0.30      1450.00        $435.00
                                comments on opposition to parish claims and related
                                correspondence with K. Brown regarding comments.

 02/22/2023   JE      CO        Review revised draft objection to parish claims and      0.40      1450.00        $580.00
                                correspondence with B. Michael regarding same.

 02/22/2023   JE      CO        Review comments of J. Bair to draft objection to         0.10      1450.00        $145.00
                                parish claims.

 02/22/2023   KBD     CO        Analyze issues relating to claims objections.            1.70      1395.00       $2,371.50

 02/22/2023   KBD     CO        Attention to correspondence with G. Zipes regarding      0.10      1395.00        $139.50
                                claims objections.

 02/22/2023   KBD     CO        Participate in SCC call regarding claims objections.     0.50      1395.00        $697.50

 02/22/2023   KBD     CO        Telephone call with J. Stang regarding claims            0.10      1395.00        $139.50
                                matters.

 02/22/2023   KBD     CO        Analyze draft objection to parish claims.                0.60      1395.00        $837.00

 02/22/2023   BMM     CO        Draft objection to parish claims.                        1.20       875.00       $1,050.00

 02/22/2023   BMM     CO        Draft objection to parish claims.                        0.90       875.00        $787.50

 02/22/2023   BMM     CO        Communications with counsel to claimants                 3.90       875.00       $3,412.50
                                regarding claims objections.

 02/22/2023   BMM     CO        Revise objection to parish claims.                       2.00       875.00       $1,750.00
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 02/22/2023   KLL     CO        Prepare certificate of service re motion to amend       0.50       545.00        $272.50
                                claims objection procedures and notice of hearing on
                                same.

 02/22/2023   KLL     CO        Telephone call with state court counsel M. Betti re     0.20       545.00        $109.00
                                claim objection filings.

 02/22/2023   ECO     CO        E-mails with B. Michael and K. Dine re issues           0.20       725.00        $145.00
                                relating to amended proofs of claim.

 02/22/2023   ECO     CO        Prepare e-mail to B. Michael and K. Dine re             0.30       725.00        $217.50
                                discussion of case law on amended and late-filed
                                claims.

 02/22/2023   ECO     CO        Conduct legal research re amended claims.               1.20       725.00        $870.00

 02/23/2023   GSG     CO        Review parish claim objection additional comments.      0.20      1095.00        $219.00

 02/23/2023   JE      CO        Correspondence with B. Michael regarding draft          0.20      1450.00        $290.00
                                objection to parish claims.

 02/23/2023   KBD     CO        Prepare and review correspondence with Jones Day        0.20      1395.00        $279.00
                                and Chambers regarding claims objection matters.

 02/23/2023   KBD     CO        Telephone call with B. Michael regarding claims         0.30      1395.00        $418.50
                                objections and next steps.

 02/23/2023   KBD     CO        Telephone call with B. Michael regarding mediation      0.20      1395.00        $279.00
                                issues.

 02/23/2023   KBD     CO        Review correspondence with state court counsel          0.20      1395.00        $279.00
                                regarding claims objections.

 02/23/2023   KBD     CO        Analyze materials relating to objection to parish       0.40      1395.00        $558.00
                                claims.

 02/23/2023   BMM     CO        Communications with counsel to claimants and the        1.20       875.00       $1,050.00
                                Diocese regarding claims objections.

 02/23/2023   BMM     CO        Revise objection to parish claims.                      1.30       875.00       $1,137.50

 02/23/2023   BMM     CO        Revise objection to parish claims.                      0.60       875.00        $525.00

 02/23/2023   BMM     CO        Communication with counsel regarding claims             0.20       875.00        $175.00
                                objections filing process.

 02/23/2023   KLL     CO        Prepare B. Michel declaration in support of             0.50       545.00        $272.50
                                objection to parish claims.

 02/24/2023   AJK     CO        Call with K. McNally and T. Flanagan re claims          1.00      1675.00       $1,675.00
                                valuation.

 02/24/2023   IAWN CO           Review diocese objection to claims based on             0.80      1395.00       $1,116.00
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                                                                                        Hours           Rate      Amount
                                religious orders and supporting declaration.
 02/24/2023   JIS     CO        Review responses to IRCP-based claims objections.        0.30      1695.00        $508.50

 02/24/2023   JIS     CO        Review and revise parish claim objection.                0.40      1695.00        $678.00

 02/24/2023   KBD     CO        Analyze materials relating to objection to parish        0.80      1395.00       $1,116.00
                                claims.

 02/24/2023   BMM     CO        Revise parish claims objection.                          1.30       875.00       $1,137.50

 02/25/2023   JE      CO        Review revised draft parish claim objection and          1.20      1450.00       $1,740.00
                                further revise and comment on.

 02/25/2023   JE      CO        Correspondence with B. Michael regarding revisions       0.30      1450.00        $435.00
                                to parish claim objection.

 02/25/2023   JE      CO        Review draft B. Michael declaration and related          0.80      1450.00       $1,160.00
                                documents.

 02/25/2023   KBD     CO        Analyze responses to objections to abuse claims.         2.10      1395.00       $2,929.50

 02/25/2023   BMM     CO        Revise parish claims objection.                          1.50       875.00       $1,312.50

 02/25/2023   BMM     CO        Revise parish claims objection.                          0.30       875.00        $262.50

 02/25/2023   BMM     CO        Revise parish claims objection.                          0.70       875.00        $612.50

 02/26/2023   MSP     CO        Email exchange with B. Michael, et al. re: parish        0.10      1295.00        $129.50
                                claim objection.

 02/26/2023   KBD     CO        Review and prepare comments to draft parish              0.40      1395.00        $558.00
                                objection.

 02/26/2023   BMM     CO        Revise parish claims objection.                          3.20       875.00       $2,800.00

 02/27/2023   KBD     CO        Analyze issues relating to claims objections.            0.80      1395.00       $1,116.00

 02/27/2023   KBD     CO        Call with state court counsel re responses to claims     0.40      1395.00        $558.00
                                objections.

 02/27/2023   BMM     CO        Prepare chart for counsel regarding claims               0.90       875.00        $787.50
                                objections.

 02/27/2023   BMM     CO        Call with counsel re Not Us claims objection             0.40       875.00        $350.00
                                responses.

 02/28/2023   MSP     CO        Email exchange with J. Stang, et al. re: objection to    0.10      1295.00        $129.50
                                parish claims.

 02/28/2023   KLL     CO        Review and revise for filing Committee's first           2.60       545.00       $1,417.00
                                omnibus objection to claims and B. Michael
                                declaration in support.
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 02/28/2023   KLL     CO        Prepare certificate of service re Committee's first     0.60       545.00          $327.00
                                omnibus objection to claims.

                                                                                      158.10                    $174,397.50

  Comp. of Prof./Others
 02/13/2023   BMM     CPO       Review Debtor’s fees.                                   0.70       875.00          $612.50

 02/13/2023   BMM     CPO       Review Debtor’s fees.                                   0.40       875.00          $350.00

 02/19/2023   IAWN CPO          Review Reed Smith bill.                                 0.50      1395.00          $697.50

                                                                                        1.60                      $1,660.00

  CmteDisc Reqs- Finance/Govern
 02/02/2023   KBD     CRF       Call with N. Morin regarding FCC sale status.           0.30      1395.00          $418.50

 02/02/2023   KBD     CRF       Call with S. Coran regarding FCC sale.                  0.10      1395.00          $139.50

 02/03/2023   BMM     CRF       Analyze issues related to pension and health and        1.30       875.00         $1,137.50
                                welfare benefits plans.

 02/06/2023   LSC     CRF       Conduct research regarding title companies.             0.30       545.00          $163.50

 02/08/2023   JE      CRF       Correspondence with K. Dine regarding status of         0.20      1450.00          $290.00
                                DIP and review correspondence from debtor
                                regarding related discovery.

 02/08/2023   KBD     CRF       Review revision to schedules.                           0.10      1395.00          $139.50

 02/09/2023   KBD     CRF       Call with BRG and B. Michael regarding document         0.50      1395.00          $697.50
                                requests.

 02/09/2023   KBD     CRF       Follow-up call with B. Michael regarding document       0.20      1395.00          $279.00
                                requests.

 02/09/2023   BMM     CRF       Call with K. Dine and BRG regarding document            0.50       875.00          $437.50
                                requests.

 02/09/2023   BMM     CRF       Call with K. Dine regarding document requests.          0.20       875.00          $175.00

 02/10/2023   KBD     CRF       Telephone call with N. Morin of Jones Day               0.30      1395.00          $418.50
                                regarding sale matters.

 02/10/2023   KBD     CRF       Review and prepare correspondence relating to sale      0.40      1395.00          $558.00
                                issues.

 02/10/2023   KBD     CRF       Analyze correspondence among PSZJ, Jones Day            0.30      1395.00          $418.50
                                and BRG regarding documents.

 02/13/2023   KBD     CRF       Follow-up with B. Michael and I. Nasatir.               0.10      1395.00          $139.50
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 02/13/2023   KBD     CRF       Telephone call with BRG regarding financial               0.20      1395.00        $279.00
                                information.

 02/15/2023   KBD     CRF       Review correspondence with Jones Day and PSZJ             0.10      1395.00        $139.50
                                regarding discovery matters.

 02/15/2023   KBD     CRF       Review contract assignment notice.                        0.10      1395.00        $139.50

 02/20/2023   JIS     CRF       Review email from K. Dine regarding status of bids.       0.30      1695.00        $508.50

 02/20/2023   KBD     CRF       Telephone call with N. Morin regard Spectrum Asset        0.30      1395.00        $418.50
                                Sale.

 02/20/2023   KBD     CRF       Analyze issues relating to Spectrum Sale.                 0.50      1395.00        $697.50

 02/21/2023   AJK     CRF       Review e-mail re document production.                     0.20      1675.00        $335.00

 02/21/2023   JIS     CRF       (Partial) call with K. Dine and B. Michael regarding      0.50      1695.00        $847.50
                                tower sale.

 02/21/2023   KBD     CRF       Analyze issues relating to Tower/Spectrum sales.          1.20      1395.00       $1,674.00

 02/21/2023   KBD     CRF       Telephone call with J. Stang regarding                    0.30      1395.00        $418.50
                                Tower/Spectrum sale issues.

 02/21/2023   KBD     CRF       Telephone call with J. Stang (for part) and B.            0.90      1395.00       $1,255.50
                                Michael regarding Tower/Spectrum sale issues.

 02/21/2023   BMM     CRF       Review and respond to emails regarding tower sales        0.30       875.00        $262.50
                                and leases.

 02/21/2023   BMM     CRF       Review recent productions.                                0.70       875.00        $612.50

 02/21/2023   BMM     CRF       Call with K. Dine and J. Stang regarding tower sale       0.90       875.00        $787.50
                                and case dismissal.

 02/22/2023   JIS     CRF       Call with K. Dine regarding Spectrum assets.              0.10      1695.00        $169.50

 02/22/2023   KBD     CRF       Call with N. Morin (Jones Day), R. Morgner                0.40      1395.00        $558.00
                                (Jefferies), S. Coran (Lerman) and Jefferies
                                regarding Spectrum assets.

 02/22/2023   KBD     CRF       Telephone call with J. Stang regarding Spectrum           0.10      1395.00        $139.50
                                assets.

 02/22/2023   KBD     CRF       Prepare correspondence regarding Spectrum assets.         0.10      1395.00        $139.50

 02/22/2023   KBD     CRF       Analyze issues relating to sale of Spectrum assets.       1.20      1395.00       $1,674.00

 02/22/2023   KLL     CRF       Review search results from UCC search.                    0.20       545.00        $109.00

 02/23/2023   KBD     CRF       Draft letter to Jones Day regarding issues relating to    0.70      1395.00        $976.50
                                sale of Spectrum assets.
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 02/23/2023   KBD     CRF       Analyze bids received for Spectrum assets.              1.20       1395.00        $1,674.00

 02/24/2023   MSP     CRF       Email exchange with J. Stang, counsel, Committee        0.10       1295.00         $129.50
                                members re: cell tower sales.

 02/24/2023   KBD     CRF       Revise letter to Jones Day regarding issues relating    0.30       1395.00         $418.50
                                to sale of Spectrum assets.

 02/24/2023   KBD     CRF       Analyze bids received for Spectrum assets.              0.40       1395.00         $558.00

 02/27/2023   JIS     CRF       Call with K. Dine, BRG and consultant regarding         0.50       1695.00         $847.50
                                leases reviewing bidding.

 02/27/2023   KBD     CRF       Analyze issues relating to sale of Spectrum assets.     0.30       1395.00         $418.50

 02/27/2023   KBD     CRF       Call with PSZJ, Lerman Scenter and BRG regarding        0.50       1395.00         $697.50
                                sale of assets.

 02/28/2023   JIS     CRF       Call with K. Dine regarding tower sale.                 0.10       1695.00         $169.50

 02/28/2023   KBD     CRF       Call with J. Stang regarding Cell Tower auction.        0.10       1395.00         $139.50

 02/28/2023   KBD     CRF       Analyze issues relating to bids for Spectrum assets     1.50       1395.00        $2,092.50
                                and next steps.

                                                                                        19.10                    $24,698.50

  IAC/Affiliate Transactions
 02/01/2023   GSG     IAC       Call with BRG team and K. Brown re DOE analysis.        0.80       1095.00         $876.00

 02/01/2023   GSG     IAC       Emails to/from K. Brown re scheduling of tolling        0.10       1095.00         $109.50
                                and deadlines.

 02/02/2023   KHB     IAC       Work on amended tolling agreements.                     1.20       1525.00        $1,830.00

 02/03/2023   KHB     IAC       Work on tolling agreement extensions and emails w/      1.50       1525.00        $2,287.50
                                IAC targets’ counsel re same.

 02/03/2023   GSG     IAC       Review/respond to emails from P. Shields re DOE         0.20       1095.00         $219.00
                                settlement discussions.

 02/06/2023   KHB     IAC       Work on amended tolling agreements (.2) and emails      0.40       1525.00         $610.00
                                to counsel re same (.1).

 02/06/2023   GSG     IAC       Review email to/from M. Bunin re DOE tolling.           0.10       1095.00         $109.50

 02/06/2023   GSG     IAC       Confer with H. Phan re IAC tolling agreement            0.30       1095.00         $328.50
                                submission.

 02/06/2023   KBD     IAC       Analyze revisions to DOE tolling agreements.            0.20       1395.00         $279.00

 02/07/2023   KHB     IAC       Emails with M. Bunin re tolling agreement (.2);         0.70       1525.00        $1,067.50
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                                revise tolling agreement with DOE (.2); emails from
                                B. Michael and Committee members re counteroffer
                                to DOE (.3).

 02/07/2023   GSG     IAC       Review revised tolling stipulation re DOE.                0.10      1095.00        $109.50

 02/07/2023   KBD     IAC       Prepare notices relating to Tolling Agreements.           0.60      1395.00        $837.00

 02/08/2023   KHB     IAC       Prepare counter offer to DOE and emails with J.           0.60      1525.00        $915.00
                                Stang re same (.3); emails with M. Bunin re tolling
                                agreement and revised tolling agreement (.3).

 02/08/2023   GSG     IAC       Review emails to/from K. Brown re tolling                 0.20      1095.00        $219.00
                                stipulation.

 02/09/2023   KHB     IAC       Emails with counsel for CemCo and K. Dine re              1.00      1525.00       $1,525.00
                                tolling agreement (.4); revisions to tolling agreement
                                (.2); emails with M. Bunin re status of sale process
                                for Seminary property and obtaining copy of
                                appraisal (.2); emails with W. Heuer re revisions to
                                tolling agreement (.2).

 02/09/2023   KBD     IAC       Prepare presentments relating to tolling agreements.      0.80      1395.00       $1,116.00

 02/09/2023   KLL     IAC       Review and revise notice of presentment of                0.50       545.00        $272.50
                                Seminary tolling agreement.

 02/09/2023   KLL     IAC       Review and revise notice of presentment of DOE            0.50       545.00        $272.50
                                tolling agreement.

 02/09/2023   KLL     IAC       Review and revise notice of presentment of CemCo          0.50       545.00        $272.50
                                tolling agreement.

 02/10/2023   KBD     IAC       Finalize and coordinate filing of presentments with       0.20      1395.00        $279.00
                                K. LaBrada (for part).

 02/10/2023   KLL     IAC       Revise and finalize for filing notice of presentment      0.50       545.00        $272.50
                                re stipulation to CemCo tolling agreement.

 02/10/2023   KLL     IAC       Serve notices of presentment re stipulations to           0.30       545.00        $163.50
                                tolling agreements.

 02/13/2023   KLL     IAC       Prepare affidavit of service regarding notices of         0.50       545.00        $272.50
                                presentments on tolling agreements.

 02/17/2023   GSG     IAC       Emails to/from K. Brown re settlement demands and         0.10      1095.00        $109.50
                                counteroffers.

 02/21/2023   JIS     IAC       Call with PSZJ regarding counteroffers.                   0.80      1695.00       $1,356.00

 02/21/2023   JIS     IAC       Review email exchanges regarding CemCo response           0.20      1695.00        $339.00
                                to Committee assumptions.

 02/21/2023   GSG     IAC       Confirm master calendar re tolling dates.                 0.10      1095.00        $109.50
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 02/21/2023   GSG     IAC       Review emails to/from K. Brown re CemCo                   0.20       1095.00         $219.00
                                demand.

 02/22/2023   KBD     IAC       Finalize tolling agreements and related                   0.20       1395.00         $279.00
                                correspondence.

 02/22/2023   KLL     IAC       Prepare and submit email to court chambers re             0.70        545.00         $381.50
                                notices of presentments of tolling agreements and
                                proposed orders to same.

 02/23/2023   KHB     IAC       Emails with M. Bunin re DOE settlement (.2);              0.50       1525.00         $762.50
                                confer with M. Bunin re same (.2); emails with K.
                                Dine re same (.1).

 02/23/2023   GSG     IAC       Email update re DOE demand and deadlines.                 0.30       1095.00         $328.50

 02/23/2023   GSG     IAC       Conference call with M. Bunin and PSZJ re DOE.            0.20       1095.00         $219.00

 02/23/2023   KBD     IAC       Call with M. Bunin and PSZJ regarding DOE.                0.20       1395.00         $279.00

 02/23/2023   KLL     IAC       Review orders entered re first amended stipulated         0.40        545.00         $218.00
                                tolling orders.

 02/23/2023   KLL     IAC       Update dates relating to tolling orders entered by the    0.30        545.00         $163.50
                                Court.

 02/27/2023   KBD     IAC       Research issues relating to fraudulent transfer           1.30       1395.00        $1,813.50
                                claims.

                                                                                          17.30                    $20,820.50

  Insurance Litigation
 02/01/2023   KBD     IL        Analyze insurance related pleadings.                      0.30       1395.00         $418.50

 02/15/2023   IAWN IL           Review Hiscox litigation materials from I. Scharf.        1.30       1395.00        $1,813.50

 02/15/2023   IAWN IL           Review release case law.                                  0.10       1395.00         $139.50

 02/16/2023   KBD     IL        Prepare summary of Diocese amended insurance              0.20       1395.00         $279.00
                                complaint.

                                                                                           1.90                     $2,650.50

  Lease
 02/09/2023   KLL     LEAS      Update lease chart.                                       0.30        545.00         $163.50

 02/21/2023   JIS     LEAS      Review emails regarding CFN interest in towers,           0.40       1695.00         $678.00
                                including review of leases and schedules re same.

 02/22/2023   ECO     LEAS      Review e-mail from K. Dine re issues with tower           0.30        725.00         $217.50
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                                leases/CFN.
 02/23/2023   ECO     LEAS      Conduct legal research re issues with tower lease        1.70        725.00        $1,232.50
                                and Diocese's powers under the Bankruptcy Code
                                relating to sales and assumption/assignment of
                                leases.

 02/23/2023   ECO     LEAS      Review tower lease and agreement with CFN (.9),          1.20        725.00         $870.00
                                and prepare notes re potential issues with asset
                                sale/lease assignment (.3).

 02/24/2023   JIS     LEAS      Finalize letter to Jones Day re cell towers.             0.10       1695.00         $169.50

 02/24/2023   MSP     LEAS      Email exchange with K. Dine, et al. re: Spectrum         0.10       1295.00         $129.50
                                asset sale.

 02/24/2023   ECO     LEAS      Continue to research issues relating to tower leases.    1.80        725.00        $1,305.00

 02/25/2023   ECO     LEAS      Preparation of memo re legal/Bankruptcy Code             1.50        725.00        $1,087.50
                                issues relating to sale of tower spaces and
                                assignment of leases.

 02/25/2023   ECO     LEAS      Conduct legal research re rights and powers in           1.10        725.00         $797.50
                                connection with leases, and relationship to
                                Bankruptcy Code provisions on sales/leases.

 02/26/2023   ECO     LEAS      Prepare e-mail to K. Dine forwarding memo on legal       0.10        725.00          $72.50
                                issues relating to tower leases.

 02/26/2023   ECO     LEAS      Review and analysis of case law on sales free and        1.60        725.00        $1,160.00
                                clear of interests.

 02/26/2023   ECO     LEAS      Prepare discussion of New York law on                    1.70        725.00        $1,232.50
                                sale/assignment of tower leases.

 02/26/2023   ECO     LEAS      Review and revise research memo on                       1.90        725.00        $1,377.50
                                assumption/assignment of tower leases.

                                                                                         13.80                    $10,493.00

  Lien Review
 02/24/2023   KLL     LR        Review and circulate official copies of lien review.     0.30        545.00         $163.50

                                                                                          0.30                      $163.50

  Mtgs/Conf w/Client
 02/02/2023   KBD     MCC       Analyze correspondence among PSZJ and SCC.               0.20       1395.00         $279.00

 02/03/2023   JIS     MCC       Call with state court counsel regarding appointment      1.20       1695.00        $2,034.00
                                of tort claims reviewer.
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 02/03/2023   KBD     MCC       Call with SCC regarding ongoing case issues (for        1.10      1395.00       $1,534.50
                                part).

 02/03/2023   KBD     MCC       Attention to correspondence with SCC and PSZJ           0.20      1395.00        $279.00
                                regarding ongoing case matters.

 02/03/2023   KBD     MCC       Analyze correspondence from......... regarding civil    0.30      1395.00        $418.50
                                rights claims with SCC.

 02/03/2023   BMM     MCC       Participate in call with SCC regarding ongoing case     1.30       875.00       $1,137.50
                                issues.

 02/07/2023   KBD     MCC       Review and prepare correspondence among PSZJ,           0.30      1395.00        $418.50
                                SCC and Committee on ongoing case issues.

 02/08/2023   MSP     MCC       Internal team meeting.                                  1.50      1295.00       $1,942.50

 02/09/2023   KBD     MCC       Review correspondence among PSZJ and SCC                0.20      1395.00        $279.00
                                regarding ongoing case issues.

 02/10/2023   KBD     MCC       Analyze correspondence among PSZJ and SCC on            0.30      1395.00        $418.50
                                ongoing case issues.

 02/11/2023   KBD     MCC       Attention to correspondence among Committee,            0.10      1395.00        $139.50
                                SCC and PSZJ regarding ongoing case issues.

 02/13/2023   MSP     MCC       Email exchange with B. Michael re: Committee            0.10      1295.00        $129.50
                                meeting logistics.

 02/13/2023   KBD     MCC       Analyze correspondence among SCC, Committee             0.70      1395.00        $976.50
                                and PSZJ regarding ongoing case matters.

 02/13/2023   KBD     MCC       Analyze correspondence from Mediator and SCC.           0.20      1395.00        $279.00

 02/14/2023   KBD     MCC       Call with Committee and SCC regarding ongoing           1.40      1395.00       $1,953.00
                                matters.

 02/14/2023   KBD     MCC       Attention to correspondence among Committee,            0.20      1395.00        $279.00
                                SCC and PSZJ.

 02/14/2023   KBD     MCC       Follow-up call with B. Michael regarding open           0.40      1395.00        $558.00
                                issues.

 02/14/2023   BMM     MCC       Participate in Committee meeting regarding ongoing      1.40       875.00       $1,225.00
                                case issues.

 02/14/2023   BMM     MCC       Call with a SCC regarding claims objection.             0.60       875.00        $525.00

 02/14/2023   BMM     MCC       Call with K. Dine following Commitee call               0.10       875.00         $87.50
                                regarding open issues.

 02/16/2023   KBD     MCC       Call with SCC and Committee regarding ongoing           1.00      1395.00       $1,395.00
                                case issues.
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 02/16/2023   BMM     MCC       Call with Committee, SCC regarding ongoing case           1.00       875.00        $875.00
                                issues.

 02/17/2023   KBD     MCC       Analyze correspondence among PSZJ, Committee              0.30      1395.00        $418.50
                                and SCC.

 02/20/2023   KBD     MCC       Review correspondence among SCC, Committee                0.30      1395.00        $418.50
                                and PSZJ regarding ongoing case issues.

 02/20/2023   BMM     MCC       Communications with Committee and SCC                     1.20       875.00       $1,050.00
                                regarding future claims.

 02/21/2023   JIS     MCC       Call with state court counsel and PSZJ re case.           0.50      1695.00        $847.50

 02/21/2023   JIS     MCC       Committee meeting regarding open issues.                  1.40      1695.00       $2,373.00

 02/21/2023   JWL     MCC       Partial attendance on call with Committee regarding       0.50      1150.00        $575.00
                                Feb. 21 status conference.

 02/21/2023   KBD     MCC       Participate in call with Committee and SCC                1.40      1395.00       $1,953.00
                                regarding ongoing case issues.

 02/21/2023   KBD     MCC       Analyze correspondence among Committee, SCC               0.20      1395.00        $279.00
                                and PSZJ regarding ongoing case issues.

 02/21/2023   KBD     MCC       Prepare for Committee call regarding ongoing              0.20      1395.00        $279.00
                                issues.

 02/21/2023   BMM     MCC       Participate in Committee meeting regarding ongoing        1.40       875.00       $1,225.00
                                case issues.

 02/21/2023   BMM     MCC       Follow up emails to Committee and team from               0.10       875.00         $87.50
                                Committee meeting.

 02/21/2023   BMM     MCC       Call with certain SCC and PSZJ following up on            0.50       875.00        $437.50
                                Committee call.

 02/22/2023   KBD     MCC       Attention to correspondence among SCC and PSZJ            0.20      1395.00        $279.00
                                regarding ongoing case issues.

 02/22/2023   KBD     MCC       Prepare memorandum for Committee and SCC                  0.60      1395.00        $837.00
                                regarding ongoing case issues.

 02/23/2023   JIS     MCC       Meeting with Committee professionals regarding            1.40      1695.00       $2,373.00
                                work in process list and mediation strategy (partial).

 02/23/2023   KBD     MCC       Draft memorandum to SCC and Committee                     0.80      1395.00       $1,116.00
                                regarding ongoing case issues.

 02/23/2023   KBD     MCC       Call with SCC regarding ongoing case issues.              0.60      1395.00        $837.00

 02/23/2023   BMM     MCC       Revise memo regarding plan next steps.                    1.00       875.00        $875.00
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 02/23/2023   BMM     MCC       (partial) Participate in call with state court counsel    0.50       875.00        $437.50
                                regarding judicial mediator.

 02/24/2023   IAWN MCC          Telephone call with SCC and PSZJ regarding                0.70      1395.00        $976.50
                                mediation.

 02/24/2023   IAWN MCC          Email team regarding telephone conference                 0.10      1395.00        $139.50
                                concerning mediation.

 02/24/2023   JIS     MCC       Follow up with Committee professionals after State        0.10      1695.00        $169.50
                                Court Counsel call.

 02/24/2023   JIS     MCC       Call B. Michael regarding mediator issues.                0.10      1695.00        $169.50

 02/24/2023   JIS     MCC       Review and respond to memos to client regarding           0.20      1695.00        $339.00
                                auction status and next steps.

 02/24/2023   JIS     MCC       Call with state court counsel and PSZJ regarding          0.70      1695.00       $1,186.50
                                mediator and case issues.

 02/24/2023   KBD     MCC       Revise memorandum to SCC and Committee                    0.50      1395.00        $697.50
                                regarding ongoing case issues.

 02/24/2023   KBD     MCC       Prepare and review correspondence among SCC               0.30      1395.00        $418.50
                                regarding ongoing case issues.

 02/24/2023   KBD     MCC       Follow-up call with PSZJ and Burns Bair regarding         0.10      1395.00        $139.50
                                SCC meeting.

 02/24/2023   KBD     MCC       Call with SCC and PSZJ regarding ongoing case             0.70      1395.00        $976.50
                                issues.

 02/24/2023   BMM     MCC       Telephonic meeting with SCC and PSZJ regarding            0.70       875.00        $612.50
                                mediator selection.

 02/24/2023   BMM     MCC       Post-SCC telephonic meeting follow-up with PSZJ.          0.10       875.00         $87.50

 02/24/2023   KLL     MCC       Attend PSZJ after state court counsel call.               0.10       545.00         $54.50

 02/24/2023   KLL     MCC       Attend state court counsel and PSZJ call.                 0.70       545.00        $381.50

 02/25/2023   KBD     MCC       Review and prepare correspondence among SCC on            0.10      1395.00        $139.50
                                ongoing case issues.

 02/26/2023   KBD     MCC       Analyze correspondence among SCC regarding                0.10      1395.00        $139.50
                                ongoing case issues.

 02/27/2023   AJK     MCC       Call with K. McNally and T. Flanagan re valuation         1.00      1675.00       $1,675.00
                                issues.

 02/27/2023   KBD     MCC       Review and prepare correspondence among PSZJ              0.40      1395.00        $558.00
                                and SCC regarding ongoing case issues.
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 02/27/2023   KBD     MCC       Call with SCC regarding ongoing case issues.            0.30      1395.00        $418.50

 02/27/2023   BMM     MCC       Call with SCC regarding case open issues.               0.30       875.00        $262.50

 02/28/2023   IAWN MCC          Telephone call with team regarding mediation (part      0.30      1395.00        $418.50
                                of).

 02/28/2023   JIS     MCC       Call J. Amala regarding agenda for state court          0.20      1695.00        $339.00
                                counsel call.

 02/28/2023   JIS     MCC       Call with state court counsel and PSZJ regarding C.     0.80      1695.00       $1,356.00
                                Moore deposition, mediation, preliminary
                                injunction.

 02/28/2023   KHB     MCC       PSZJ team call (partial) to prepare for meeting with    1.10      1525.00       $1,677.50
                                SCC re mediator selection, depositions and
                                opposition to stay motion (.3); call with SCC re
                                same (.8).

 02/28/2023   GSG     MCC       Conference with SCC and PSZJ team re case status,       0.80      1095.00        $876.00
                                mediation, and deadlines.

 02/28/2023   GSG     MCC       Conference with PSZJ re prep for meeting with           0.80      1095.00        $876.00
                                SCC.

 02/28/2023   KBD     MCC       Prepare and review correspondence among SCC,            0.30      1395.00        $418.50
                                Committee and PSZJ.

 02/28/2023   KBD     MCC       Call with executive committee on ongoing issues.        0.20      1395.00        $279.00

 02/28/2023   KBD     MCC       Prepare for executive committee meeting.                0.10      1395.00        $139.50

 02/28/2023   KBD     MCC       Calls with B. Michael preparing for SCC and             0.40      1395.00        $558.00
                                Committee meetings.

 02/28/2023   KBD     MCC       Call among PSZJ preparing for SCC call on ongoing       0.80      1395.00       $1,116.00
                                issues.

 02/28/2023   KBD     MCC       Call with SCC regarding ongoing case issues.            0.80      1395.00       $1,116.00

 02/28/2023   KBD     MCC       Email J. Stang regarding mediation issues.              0.10      1395.00        $139.50

 02/28/2023   BMM     MCC       Respond to emails with SCC regarding ongoing case       0.80       875.00        $700.00
                                issues.

 02/28/2023   BMM     MCC       Call with K. Dine regarding Committee meeting.          0.40       875.00        $350.00

 02/28/2023   BMM     MCC       Prepare for meeting with SCC regarding case issues.     0.40       875.00        $350.00

 02/28/2023   BMM     MCC       Pre-SCC meeting call with PSZJ team.                    0.80       875.00        $700.00

 02/28/2023   BMM     MCC       Participate in SCC and PSZJ phone meeting               0.80       875.00        $700.00
                                regarding ongoing case issues.
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                                                                                      44.10                    $55,512.00

  Mtgs/Conf w/Cmte Profs
 02/08/2023   JIS     MCP       Status call with Debtor's counsel.                    0.30       1695.00         $508.50

 02/16/2023   JIS     MCP       (Partial) attend Committee professional call to       0.70       1695.00        $1,186.50
                                review WIP on plan and injunction litigation.

 02/21/2023   JIS     MCP       Call with L. James and P. Noaker re case status.      0.50       1695.00         $847.50

 02/21/2023   JIS     MCP       Post-hearing debriefing with PSZJ and next steps      0.80       1695.00        $1,356.00
                                discussion.

 02/21/2023   KBD     MCP       Follow-up with L. James and P. Noaker, J. Stang and   0.50       1395.00         $697.50
                                B. Michael.

                                                                                       2.80                     $4,596.00

  Mediation
 02/07/2023   IAWN ME           Review team emails regarding hearing.                 0.10       1395.00         $139.50

 02/07/2023   IAWN ME           Review Committee emails regarding counteroffer.       0.20       1395.00         $279.00

 02/14/2023   BMM     ME        Call with K. Dine regarding mediation strategy and    1.10        875.00         $962.50
                                other case issues.

 02/14/2023   BMM     ME        Call with PSZJ regarding mediation and other case     0.40        875.00         $350.00
                                issues.

 02/22/2023   JIS     ME        Respond to email regarding mediation candidates.      0.40       1695.00         $678.00

 02/22/2023   KBD     ME        Follow-up call with PSZJ and J. Amala (for part)      1.30       1395.00        $1,813.50
                                regarding judicial mediator.

 02/22/2023   BMM     ME        Discussion regarding judicial mediator with PSZJ      1.30        875.00        $1,137.50
                                (and J. Amala in part).

 02/23/2023   IAWN ME           Telephone call with SCC regarding mediation.          0.60       1395.00         $837.00

 02/23/2023   IAWN ME           Exchange emails with B. Michael regarding             0.10       1395.00         $139.50
                                meeting.

 02/23/2023   IAWN ME           Exchange emails with K. Dine regarding mediator.      0.10       1395.00         $139.50

 02/23/2023   IAWN ME           Review PSZJ emails regarding mediator.                0.20       1395.00         $279.00

 02/23/2023   JIS     ME        Call J. Amala regarding mediator appointment.         0.10       1695.00         $169.50

 02/23/2023   KHB     ME        PSZJ team call re mediation and related litigation    1.80       1525.00        $2,745.00
                                strategy.

 02/23/2023   KHB     ME        Emails with K. Dine and B. Michael re selection of    0.60       1525.00         $915.00
                                mediator (.2); confer with K. Dine re same (.1);
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                                emails with PSZJ team re mediator selection (.3).
 02/23/2023   GSG     ME        Meeting among PSZJ and Burns Bair re work in           1.80      1095.00       $1,971.00
                                process and mediation strategy.

 02/23/2023   KBD     ME        Prepare and review correspondence with Jones Day       0.10      1395.00        $139.50
                                regarding mediation.

 02/23/2023   KBD     ME        Telephone call with A. Kornfeld regarding mediation    0.10      1395.00        $139.50
                                matter.

 02/23/2023   KBD     ME        Telephone call with K. Brown regarding mediation       0.10      1395.00        $139.50
                                matter.

 02/23/2023   KBD     ME        Call with PSZJ and Burns Bair regarding mediation      1.80      1395.00       $2,511.00
                                strategy.

 02/23/2023   KBD     ME        Email J. Stang regarding mediation issues.             0.10      1395.00        $139.50

 02/23/2023   BMM     ME        Call with team regarding work in process and           1.80       875.00       $1,575.00
                                mediation strategy.

 02/24/2023   JIS     ME        Call with P. Van Osselaer regarding case status.       0.50      1695.00        $847.50

 02/24/2023   JIS     ME        Call J. Lucas regarding potential mediator.            0.10      1695.00        $169.50

 02/24/2023   JIS     ME        Call with a state court counsel regarding mediator     0.10      1695.00        $169.50
                                issues.

 02/24/2023   MSP     ME        Email exchange with K. Dine, P. Mones, J. Merson,      0.30      1295.00        $388.50
                                et al. re: mediator selection.

 02/24/2023   KBD     ME        Prepare and review correspondence with Jones Day       0.30      1395.00        $418.50
                                regarding mediation.

 02/24/2023   KBD     ME        Prepare and review correspondence w/A. Gonzalez        0.10      1395.00        $139.50
                                and E. Fisher regarding case matters.

 02/24/2023   KBD     ME        Telephone calls with B. Michael regarding              0.40      1395.00        $558.00
                                mediation matters.

 02/24/2023   BMM     ME        Calls with K. Dine regarding mediation.                0.40       875.00        $350.00

 02/27/2023   IAWN ME           Review SCC responses re mediation.                     0.70      1395.00        $976.50

 02/27/2023   KBD     ME        Analyze issues relating to mediation.                  0.70      1395.00        $976.50

 02/27/2023   KBD     ME        Telephone call with B. Michael regarding mediation     0.40      1395.00        $558.00
                                issues.

 02/27/2023   BMM     ME        Call with K. Dine regarding mediation.                 0.40       875.00        $350.00

 02/28/2023   IAWN ME           Telephone call with B. Michael regarding mediation.    0.40      1395.00        $558.00
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 02/28/2023   IAWN ME           Telephone call with SCC regarding mediation (part      0.80       1395.00        $1,116.00
                                of).

 02/28/2023   IAWN ME           Telephone call with Burns Bair regarding mediation.    0.20       1395.00         $279.00

 02/28/2023   JIS     ME        Emails to B. Houser regarding mediation.               0.10       1695.00         $169.50

 02/28/2023   JIS     ME        Call J. Lucas regarding mediator.                      0.10       1695.00         $169.50

 02/28/2023   KBD     ME        Exchange correspondence with Jones Day regarding       0.10       1395.00         $139.50
                                mediation matters.

 02/28/2023   KBD     ME        Prepare and review correspondence with potential       0.30       1395.00         $418.50
                                mediation candidate.

 02/28/2023   BMM     ME        Call with P. Noaker regarding mediation.               0.20        875.00         $175.00

 02/28/2023   BMM     ME        Call with I. Nasatir regarding mediation and other     0.40        875.00         $350.00
                                case issues.

 02/28/2023   MSP     ME        Email exchange with P. Mones, et al. re: mediation.    0.10       1295.00         $129.50

                                                                                       21.20                    $26,606.00

  Mtgs/Conf w/ Case Prof.
 02/01/2023   JIS     MF        Status call with Debtor.                               0.30       1695.00         $508.50

 02/01/2023   KBD     MF        Call with Jones Day and PSZJ.                          0.30       1395.00         $418.50

 02/01/2023   BMM     MF        Call with Diocese counsel regarding ongoing case       0.30        875.00         $262.50
                                issues.

 02/08/2023   KBD     MF        Call with Jones Day and PSZJ on ongoing case           0.30       1395.00         $418.50
                                issues.

 02/08/2023   BMM     MF        Call with Jones Day regarding case issues.             0.30        875.00         $262.50

 02/15/2023   KBD     MF        Call with Jones Day regarding ongoing case issues.     0.20       1395.00         $279.00

 02/15/2023   BMM     MF        Call with Debtor's counsel regarding ongoing case      0.20        875.00         $175.00
                                issues.

 02/16/2023   KBD     MF        Attention to correspondence with Jones Day             0.10       1395.00         $139.50
                                regarding ongoing case issues.

 02/22/2023   KBD     MF        Call with Jones Day regarding ongoing case issues.     0.50       1395.00         $697.50

 02/22/2023   BMM     MF        Call with Jones Day regarding ongoing case issues.     0.40        875.00         $350.00

                                                                                        2.90                     $3,511.50
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  Monthly Fee Statements
 02/15/2023   KLL     MFA       Prepare certificate of no objections to Committee       0.50        545.00        $272.50
                                professionals December monthly fee statements.

 02/16/2023   DHH     MFA       Review/revise PSZJ January fee statement                1.70        395.00        $671.50

 02/22/2023   KLL     MFA       Finalize for filing certificate of no objection to      0.40        545.00        $218.00
                                Committee professionals December monthly fee
                                statements.

 02/23/2023   BMM     MFA       Revise monthly fee statement.                           1.30        875.00       $1,137.50

 02/24/2023   DHH     MFA       Review/revise PSZJ January fee statement                1.30        395.00        $513.50

 02/26/2023   KBD     MFA       Prepare comments to January fee statement.              1.40       1395.00       $1,953.00

 02/27/2023   DHH     MFA       Review/revise PSZJ January fee statement and edit       1.50        395.00        $592.50
                                to include K. Dine's edits.

 02/28/2023   BMM     MFA       Revise PSZJ monthly fee statement.                      0.90        875.00        $787.50

 02/28/2023   KLL     MFA       Review and finalize for filing Burns Bowen January      0.40        545.00        $218.00
                                monthly fee statement.

                                                                                         9.40                    $6,364.00

  Mtgs/Conf w/other Case Parties
 02/02/2023   IAWN MOCP         Telephone call with PSZJ team regarding stay issues     1.70       1395.00       $2,371.50

 02/02/2023   IAWN MOCP         Telephone call with team follow-up.                     0.20       1395.00        $279.00

 02/02/2023   IAWN MOCP         Telephone call with team regarding BRG call.            0.10       1395.00        $139.50

 02/17/2023   IAWN MOCP         Telephone call with team regarding conference.          0.60       1395.00        $837.00

 02/21/2023   IAWN MOCP         Attend post hearing meeting with team.                  0.80       1395.00       $1,116.00

 02/21/2023   BMM     MOCP      Call with K. Dine regarding motion to dismiss or        0.10        875.00         $87.50
                                appoint examiner.

 02/23/2023   AJK     MOCP      Partial attendance at PSZJ WIP meeting.                 0.80       1675.00       $1,340.00

 02/23/2023   TCF     MOCP      Zoom meeting with PSZJ team regarding claim             0.90       1075.00        $967.50
                                valuation.

 02/24/2023   AJK     MOCP      Call with M. Pagay, J. Lucas and T. Flanagan re plan    0.50       1675.00        $837.50
                                litigation issues.

 02/25/2023   MSP     MOCP      Email exchange with J. Stang, J. Merson, K. Dine, et    0.10       1295.00        $129.50
                                al. re: litigation and case schedule.
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 02/25/2023   GSG     MOCP      Conference call with B. Michael, K. Dine, J. Dine, J.     1.00       1095.00        $1,095.00
                                Lucas, K. Brown, and J. Stang re RFRA issues.

 02/26/2023   MSP     MOCP      Email exchange with J. Stang, J. Merson, K. Dine, et      0.10       1295.00         $129.50
                                al. re: litigation and case schedule.

 02/27/2023   IAWN MOCP         Telephone conferences with B. Michael regarding           0.30       1395.00         $418.50
                                Ecclessia.

 02/27/2023   MSP     MOCP      Email exchange with J. Stang, J. Merson, P. Mones,        0.30       1295.00         $388.50
                                B. Michael,, et al. re: deposition outline and
                                preliminary injunction objection.

                                                                                           7.50                    $10,136.50

  Open Court Hearing
 02/07/2023   KBD     OPH       Review and prepare correspondence with Chambers           0.10       1395.00         $139.50
                                regarding status conference.

 02/08/2023   KBD     OPH       Review status hearing notice.                             0.10       1395.00         $139.50

 02/21/2023   IAWN OPH          Attend hearing.                                           0.70       1395.00         $976.50

 02/21/2023   JIS     OPH       Disclosure statement status conference.                   0.70       1695.00        $1,186.50

 02/21/2023   GSG     OPH       Attend status conference hearing.                         0.70       1095.00         $766.50

 02/21/2023   GSG     OPH       Conference call with PSZJ team re debriefing from         0.80       1095.00         $876.00
                                court hearing and mediation.

 02/21/2023   JWL     OPH       Prepare for (.3); and attend Feb. 21 bankruptcy court     1.80       1150.00        $2,070.00
                                status conference regarding plans, disclosure, and
                                competing process (.7); follow up with PSZJ
                                regarding debrief of status conference hearing (.8);

 02/21/2023   KBD     OPH       Participate in court hearing.                             0.80       1395.00        $1,116.00

 02/21/2023   KBD     OPH       Follow-up with PSZJ team regarding court hearing          0.80       1395.00        $1,116.00
                                and next steps.

 02/21/2023   BMM     OPH       Participate in hearing on plans and other case issues.    0.70        875.00         $612.50

 02/21/2023   BMM     OPH       Post-hearing team debrief.                                0.80        875.00         $700.00

 02/27/2023   BMM     OPH       Follow up on hearing with I. Scharf and K. Kernan         0.40        875.00         $350.00
                                (in part).

                                                                                           8.40                    $10,049.00
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  Plan & Disclosure Stmt. [B320]
 01/31/2023   MSP     PD        Review and comment on plan summary (.1); email          0.40      1295.00        $518.00
                                exchange with John W. Lucas, James I. Stang, Karen
                                B. Dine, Brittany M. Michael re: same (.30).

 02/01/2023   IAWN PD           Telephone call with PSZJ and Burns Bair team            0.80      1395.00       $1,116.00
                                review plan and Disclosure Statement.

 02/01/2023   IAWN PD           Review plan and Burns Bair comments.                    1.20      1395.00       $1,674.00

 02/01/2023   JIS     PD        Call with Burns Bair and PSZJ regarding plan            0.80      1695.00       $1,356.00
                                exhibits.

 02/01/2023   JIS     PD        Read through of disclosure statement.                   4.10      1695.00       $6,949.50

 02/01/2023   JIS     PD        Plan review.                                            1.20      1695.00       $2,034.00

 02/01/2023   JIS     PD        Call K. Dine and B. Michael re plan and disclosure      0.50      1695.00        $847.50
                                statement issues.

 02/01/2023   MSP     PD        Email exchange with B. Michael, K. Dine, D.             1.10      1295.00       $1,424.50
                                Strong, P. Shields, et al. re: Amended Committee
                                Plan and Disclosure Statement (.10); begin review of
                                same (1.0).

 02/01/2023   KBD     PD        Revisions to Disclosure Statement draft.                4.20      1395.00       $5,859.00

 02/01/2023   KBD     PD        Analyze revisions to proposed plan.                     0.70      1395.00        $976.50

 02/01/2023   KBD     PD        Call with Bair Burns and PSZJ teams regarding plan      0.80      1395.00       $1,116.00
                                terms.

 02/01/2023   KBD     PD        Discuss plan issues with PSZJ                           0.50      1395.00        $697.50

 02/01/2023   KBD     PD        Follow-up with PSZJ regarding plan issues.              0.30      1395.00        $418.50

 02/01/2023   BMM     PD        Revise Committee plan.                                  1.10       875.00        $962.50

 02/01/2023   BMM     PD        Revise trust agreement.                                 1.20       875.00       $1,050.00

 02/01/2023   BMM     PD        Follow-up call with J. Stang and K. Dine regarding      0.50       875.00        $437.50
                                Jones Day meeting.

 02/01/2023   BMM     PD        Revise disclosure statement.                            1.70       875.00       $1,487.50

 02/01/2023   BMM     PD        Revise Committee plan.                                  0.60       875.00        $525.00

 02/01/2023   BMM     PD        Meeting with team regarding plan exhibits.              0.90       875.00        $787.50

 02/01/2023   BMM     PD        Further plan revisions.                                 1.40       875.00       $1,225.00

 02/01/2023   KLL     PD        Revise Allocation Protocals for exhibit to amended      0.40       545.00        $218.00
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                                plan.
 02/01/2023   KLL     PD        Revise Non Monetary Provisions for exhibit to           0.50       545.00        $272.50
                                amended plan.

 02/02/2023   IAWN PD           Review annual report regarding summary of               0.30      1395.00        $418.50
                                coverage by Ecclesia.

 02/02/2023   IAWN PD           Review emails with team and BRG regarding               0.30      1395.00        $418.50
                                non-abuse claims.

 02/02/2023   IAWN PD           Review emails regarding experts from BRG.               0.80      1395.00       $1,116.00

 02/02/2023   IAWN PD           Telephone call with BRG regarding plan.                 1.20      1395.00       $1,674.00

 02/02/2023   IAWN PD           Revise Ecclesia policy regarding SIR for non-abuse      0.30      1395.00        $418.50
                                claims.

 02/02/2023   JIS     PD        Call with I. Nasatir, K. Dine and B. Michael            0.20      1695.00        $339.00
                                regarding insurance issues in disclosure statement.

 02/02/2023   JIS     PD        Call with K. Dine, I. Nasatir, BRG regarding            1.20      1695.00       $2,034.00
                                liquidation analysis and plan issues.

 02/02/2023   JIS     PD        Call with K. Dine and I. Nasatir regarding plan         0.20      1695.00        $339.00
                                issues related to liquidation analysis.

 02/02/2023   JIS     PD        Call J. Lucas regarding parish litigation and           0.10      1695.00        $169.50
                                interplay with plans.

 02/02/2023   KHB     PD        Team call re plan issues and related litigation         1.50      1525.00       $2,287.50
                                strategy.

 02/02/2023   MSP     PD        Email exchange with B. Michael, J. Stang, et al. re:    0.20      1295.00        $259.00
                                Committee plan issues.

 02/02/2023   GSG     PD        Team meeting among PSZJ and Burns Bair re plan          1.50      1095.00       $1,642.50
                                status and disclosure statement (partial).

 02/02/2023   KBD     PD        Revisions to disclosure statement in preparation for    4.90      1395.00       $6,835.50
                                filing.

 02/02/2023   KBD     PD        Review correspondence with FCR.                         0.10      1395.00        $139.50

 02/02/2023   KBD     PD        Call with BRG and PSZJ regarding plan and               1.20      1395.00       $1,674.00
                                disclosure matters.

 02/02/2023   KBD     PD        Follow-up regarding disclosure matters with I.          0.10      1395.00        $139.50
                                Nasatir and J. Stang.

 02/02/2023   KBD     PD        Call among PSZJ team regarding plan and disclosure      1.70      1395.00       $2,371.50
                                statement matters.

 02/02/2023   KBD     PD        Follow-up regarding plan and disclosure matters         0.20      1395.00        $279.00
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                                                                                         Hours           Rate      Amount
                                with I. Nasatir, J. Stang and B. Michael.
 02/02/2023   BMM     PD        Team meeting regarding plan and other case                1.70       875.00       $1,487.50
                                strategy.

 02/02/2023   BMM     PD        Revise Committee plan.                                    0.90       875.00        $787.50

 02/02/2023   BMM     PD        Edit Committee plan.                                      0.90       875.00        $787.50

 02/02/2023   BMM     PD        Review file ready plan.                                   0.50       875.00        $437.50

 02/02/2023   KLL     PD        Assist with revisions to Committee's disclosure           0.60       545.00        $327.00
                                statement.

 02/02/2023   KLL     PD        Assist with revisions to Committee's amended plan.        0.90       545.00        $490.50

 02/03/2023   IAWN PD           Review expert issues plan.                                0.80      1395.00       $1,116.00

 02/03/2023   IAWN PD           Exchange emails with expert regarding plan                0.30      1395.00        $418.50
                                testimony.

 02/03/2023   IAWN PD           Exchange emails with BRG regarding experts.               0.20      1395.00        $279.00

 02/03/2023   IAWN PD           Telephone call with SCC regarding plan.                   1.30      1395.00       $1,813.50

 02/03/2023   IAWN PD           Telephone call with BRG and experts regarding             0.90      1395.00       $1,255.50
                                plan.

 02/03/2023   IAWN PD           Telephone call with K. Dine regarding telephone call      0.10      1395.00        $139.50
                                with expert.

 02/03/2023   JIS     PD        Review parish listings on ability to pay.                 0.10      1695.00        $169.50

 02/03/2023   JIS     PD        Draft amended plan and disclosure statement press         0.50      1695.00        $847.50
                                release.

 02/03/2023   KHB     PD        State court counsel call re plan issues and IAC           0.70      1525.00       $1,067.50
                                litigation and settlement issues.

 02/03/2023   MSP     PD        Email exchange with B. Michael, J. Lucas, K. Dine,        0.20      1295.00        $259.00
                                J. Lucas, et al. re: discussion re: future claims.

 02/03/2023   MSP     PD        Email exchange with J. Stang, et al. re: press release    0.10      1295.00        $129.50
                                re: plan and disclosure statement.

 02/03/2023   KBD     PD        Call with BRG, I. Nasatir and potential expert.           0.90      1395.00       $1,255.50

 02/03/2023   KBD     PD        Follow-up with I. Nasatir regarding expert.               0.10      1395.00        $139.50

 02/03/2023   KBD     PD        Analyze legal issues relating to plan and disclosure      1.70      1395.00       $2,371.50
                                statement.

 02/03/2023   BMM     PD        Review file-ready disclosure statement and plan.          0.50       875.00        $437.50

 02/03/2023   KLL     PD        Review and finalize for filing Committee's                0.60       545.00        $327.00
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                                                                                        Hours           Rate     Amount
                                Disclosure Statement.
 02/03/2023   KLL     PD        Review and finalize Committee's Plan and exhibits        0.80       545.00        $436.00
                                to same for filing.

 02/04/2023   KBD     PD        Draft motion to approve disclosure statement.            2.10      1395.00       $2,929.50

 02/04/2023   JMD     PD        Review Committee Plan (1.4). Review and research         2.20      1395.00       $3,069.00
                                plan issues (0.8).

 02/05/2023   KHB     PD        Review Committee and DRVC disclosure statements          2.90      1525.00       $4,422.50
                                (2.4); review cited authorities and emails with B.
                                Michael re same (.5).

 02/05/2023   KBD     PD        Draft motion to approve disclosure statement.            1.70      1395.00       $2,371.50

 02/05/2023   KBD     PD        Strategize regarding plan/disclosure matters with B.     1.00      1395.00       $1,395.00
                                Michael.

 02/05/2023   BMM     PD        Meeting with K. Dine regarding disclosure statement      1.00       875.00        $875.00
                                and other case strategy.

 02/06/2023   IAWN PD           Telephone call with BRG and PSZJ regarding plan.         1.00      1395.00       $1,395.00

 02/06/2023   IAWN PD           Review emails with expert and BRG regarding plan         0.80      1395.00       $1,116.00
                                and disclosure statement.

 02/06/2023   JIS     PD        Call with K. Dine and B. Michael regarding               0.70      1695.00       $1,186.50
                                disclosure statement issues (partial) .

 02/06/2023   JAM     PD        Call with J. Lucas re: status/strategy re: disclosure    0.20      1550.00        $310.00
                                statement and plan matters.

 02/06/2023   KBD     PD        Prepare disclosure statement motion.                     2.30      1395.00       $3,208.50

 02/06/2023   KBD     PD        Call with J. Stang and B. Michael regarding              0.70      1395.00        $976.50
                                disclosure statement issues.

 02/06/2023   KBD     PD        Strategize regarding disclosure statement with B.        0.50      1395.00        $697.50
                                Michael.

 02/06/2023   KBD     PD        Call with BRG and PSZJ regarding disclosure              1.00      1395.00       $1,395.00
                                statement matters.

 02/06/2023   BMM     PD        Call with K. Dine regarding disclosure statement.        0.50       875.00        $437.50

 02/06/2023   BMM     PD        Follow-up call with J. Stang and K. Dine regarding       0.70       875.00        $612.50
                                disclosure statement and other issues.

 02/06/2023   JMD     PD        Research regarding RFRA/Free Exercise clause             6.40      1395.00       $8,928.00
                                issues.

 02/06/2023   JIS     PD        Call with BRG and I. Nasatir regarding insurance         1.00      1695.00       $1,695.00
                                issues.
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 02/07/2023   IAWN PD           Exchange emails with expert regarding plan.              0.20      1395.00        $279.00

 02/07/2023   IAWN PD           Review emails from BRG and expert.                       0.30      1395.00        $418.50

 02/07/2023   MSP     PD        Email exchange with K. Dine, B. Michael, P.              0.10      1295.00        $129.50
                                Romano, et al. re: vote re: counter-offer.

 02/07/2023   GSG     PD        Review related docket re plan confirmation issues.       0.40      1095.00        $438.00

 02/07/2023   KBD     PD        Draft disclosure statement motion.                       2.20      1395.00       $3,069.00

 02/07/2023   KBD     PD        Analyze Debtor Plan and Disclosure.                      1.70      1395.00       $2,371.50

 02/07/2023   JMD     PD        Research re RFRA and Free Exercise issues (1.5);         2.50      1395.00       $3,487.50
                                call with K. Brown re RFRA and related issues (1.0).

 02/08/2023   IAWN PD           Telephone call with team and Claro regarding             1.00      1395.00       $1,395.00
                                allocation.

 02/08/2023   IAWN PD           Preparation for Claro call regarding allocation.         0.80      1395.00       $1,116.00

 02/08/2023   IAWN PD           Telephone call with team regarding status                1.50      1395.00       $2,092.50
                                conference (part of)

 02/08/2023   JIS     PD        Meeting with PSZJ team on plan issues and                1.30      1695.00       $2,203.50
                                disclosure statement status conference issues.

 02/08/2023   JIS     PD        Call J. Merson regarding plan issues for 2d amended      0.30      1695.00        $508.50
                                plan.

 02/08/2023   JIS     PD        Call I. Zalkin regarding issues related to 2d amended    0.10      1695.00        $169.50
                                plan.

 02/08/2023   KHB     PD        PSZJ Team call re plan issues (1.5); emails with K.      3.10      1525.00       $4,727.50
                                Dine and J. Dine re religious liberty issues (.3);
                                analyze recent authority re coercive plan releases of
                                third parties and email to PSZJ team re same (1.3).

 02/08/2023   GSG     PD        PSZJ team call re plan status and work in progress.      1.50      1095.00       $1,642.50

 02/08/2023   KBD     PD        Analyze legal issues relating to plan.                   0.80      1395.00       $1,116.00

 02/08/2023   KBD     PD        Prepare Disclosure statement motion.                     1.10      1395.00       $1,534.50

 02/08/2023   JMD     PD        Research regarding Committee plan confirmation           2.10      1395.00       $2,929.50
                                issues (2.1).

 02/09/2023   IAWN PD           Review BRG emails regarding PSIP.                        0.10      1395.00        $139.50

 02/09/2023   IAWN PD           Respond regarding meeting.                               0.10      1395.00        $139.50

 02/09/2023   MSP     PD        Email exchange with B. Michael, counsel, et al. re:      0.10      1295.00        $129.50
                                Plan trustee.
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 02/09/2023   MSP     PD        Email exchange with R. Gerber, B. Michael, et al.        0.10      1295.00        $129.50
                                re: future claims definition and issues.

 02/09/2023   KBD     PD        Prepare Disclosure Statement motion.                     1.90      1395.00       $2,650.50

 02/09/2023   KBD     PD        Revisions to draft Disclosure Statement.                 0.70      1395.00        $976.50

 02/09/2023   KBD     PD        Review correspondence among PSZJ and FCR                 0.20      1395.00        $279.00
                                regarding plan.

 02/09/2023   BMM     PD        Meeting with BRG regarding liquidation analysis.         0.50       875.00        $437.50

 02/10/2023   HDH     PD        Telephone conference with Jeffrey M. Dine                0.20      1350.00        $270.00
                                regarding plan research

 02/10/2023   IAWN PD           Review broker emails regarding task.                     0.10      1395.00        $139.50

 02/10/2023   IAWN PD           Exchange emails with team regarding broker.              0.10      1395.00        $139.50

 02/10/2023   KHB     PD        Emails with B. Michael re legal research issues          0.20      1525.00        $305.00
                                concerning constructive and resulting trusts.

 02/10/2023   MSP     PD        Telephone conference with J. Hogan, J. Gerber, J.        0.40      1295.00        $518.00
                                Stang, K. Dine, B. Michael re: Plans (partial).

 02/10/2023   MSP     PD        Meeting with J. Stang, K. Dine, B. Michael et al. re:    0.70      1295.00        $906.50
                                future claims, etc.

 02/10/2023   MSP     PD        Email exchange with J. Elkin, J. Lucas, et al. re:       0.10      1295.00        $129.50
                                non-debtor assets issue.

 02/10/2023   MSP     PD        Work on potential disclosure statement and plan          2.20      1295.00       $2,849.00
                                objection issues (2.10); email exchange with J.
                                Elkin, J. Lucas, et al. re: same (.10).

 02/10/2023   MSP     PD        Email exchange with K. Dine, et al. re: future claims    0.10      1295.00        $129.50
                                issues.

 02/10/2023   JE      PD        Correspondence with K. Dine regarding plan issues.       0.40      1450.00        $580.00

 02/10/2023   JE      PD        Review case law on classification issues.                1.40      1450.00       $2,030.00

 02/10/2023   JE      PD        Correspondence with M. Pagay regarding plan              0.10      1450.00        $145.00
                                issues.

 02/10/2023   JE      PD        Review parish/Non-Debtor Affiliate claims and            0.80      1450.00       $1,160.00
                                certain related insurance documents.

 02/10/2023   KBD     PD        Analyze legal issues relating to Committee Plan.         0.70      1395.00        $976.50

 02/10/2023   KBD     PD        Prepare Disclosure Statement Motion.                     1.40      1395.00       $1,953.00

 02/10/2023   JMD     PD        Research and draft memorandum re RFRA, Free              0.90      1395.00       $1,255.50
                                Exercise issues (0.5);. telephone conference with H.
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                                                                                       Hours           Rate       Amount
                                Hochman regarding RFRA, Free Exercise issues and
                                research (0.4).
 02/10/2023   KBD     PD        Telephone call with R. Gerber, M. Hogan and PSZJ        1.30      1395.00        $1,813.50
                                regarding Diocese Plan.

 02/10/2023   KBD     PD        Follow-up from FCR call with J. Stang, B. Michael,      0.70      1395.00         $976.50
                                and M. Pagay (for part).

 02/10/2023   BMM     PD        Follow-up call with J. Stang, M. Pagay (in part) and    0.70       875.00         $612.50
                                K. Dine regarding FCR meeting.

 02/11/2023   JE      PD        Additional research on classification.                  2.40      1450.00        $3,480.00

 02/11/2023   JE      PD        Correspondence with K. Dine and B. Michael              0.50      1450.00         $725.00
                                regarding results of research on classification.

 02/12/2023   IAWN PD           Review Kressel denial of confirmation opinion.          0.20      1395.00         $279.00

 02/12/2023   IAWN PD           Review indemnification memorandum for J. Elkin.         0.80      1395.00        $1,116.00

 02/12/2023   KBD     PD        Prepare disclosure statement motion.                    3.00      1395.00        $4,185.00

 02/13/2023   HDH     PD        Research RFRA issues                                    2.30      1350.00        $3,105.00

 02/13/2023   IAWN PD           Exchange emails with broker regarding task.             0.10      1395.00         $139.50

 02/13/2023   IAWN PD           Review emails with SCC regarding FCR.                   0.20      1395.00         $279.00

 02/13/2023   GSG     PD        Review third release issues re related case.            0.20      1095.00         $219.00

 02/13/2023   JE      PD        Correspondence with M. Pagay regarding plan issue       0.20      1450.00         $290.00
                                analysis.

 02/13/2023   JE      PD        Review law related to analysis of various               6.60      1450.00        $9,570.00
                                confirmation issues.

 02/13/2023   KBD     PD        Prepare disclosure statement motion and exhibits.       2.10      1395.00        $2,929.50

 02/13/2023   KBD     PD        Draft summary of Diocese Plan.                          0.80      1395.00        $1,116.00

 02/14/2023   JE      PD        Review law related to analysis of various               7.60      1450.00       $11,020.00
                                confirmation issues (4.6); and work on memo setting
                                discussing evidence in support of non-debtor third
                                party releases (3.0).

 02/14/2023   BMM     PD        Email I. Scharf regarding future claims.                0.30       875.00         $262.50

 02/14/2023   BMM     PD        Communications with ACR candidates.                     0.20       875.00         $175.00

 02/14/2023   KLL     PD        Review various Diocese cases plans re reserve for       3.60       545.00        $1,962.00
                                future claims fund.

 02/15/2023   HDH     PD        Further research and drafting regarding RFRA/BIT        2.60      1350.00        $3,510.00
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 02/15/2023   JIS     PD        Meeting with Paul Shields regarding valuations for        0.40      1695.00        $678.00
                                disclosure statement.

 02/15/2023   KHB     PD        Emails with K. Dine and B. Michael re plan status         0.20      1525.00        $305.00
                                conference.

 02/15/2023   MSP     PD        Email exchange with B. Michael, counsel,                  0.10      1295.00        $129.50
                                Committee re: status conference re: plans.

 02/15/2023   MSP     PD        Email exchange with G. Greenwood re: deposition           0.10      1295.00        $129.50
                                schedule.

 02/15/2023   GSG     PD        Email from T. Burns re insurance decision.                0.10      1095.00        $109.50

 02/15/2023   JE      PD        Review law related to analysis of various                 2.30      1450.00       $3,335.00
                                confirmation issues and work on memo setting
                                discussing evidence in support of non-debtor third
                                party releases.

 02/15/2023   KBD     PD        Analyze issues relating to future claims.                 0.50      1395.00        $697.50

 02/15/2023   KBD     PD        Prepare exhibits and related materials relating to        1.60      1395.00       $2,232.00
                                disclosure statement.

 02/15/2023   BMM     PD        Research regarding future claims treatment in             2.10       875.00       $1,837.50
                                previous plans.

 02/15/2023   BMM     PD        Review motion to approve disclosure statement.            0.40       875.00        $350.00

 02/15/2023   KLL     PD        Combine various parish letters to be sent to Diocese.     0.40       545.00        $218.00

 02/16/2023   IAWN PD           Telephone call with SCC regarding plan.                   1.00      1395.00       $1,395.00

 02/16/2023   JIS     PD        (Partial) call with state court counsel regarding plan    0.60      1695.00       $1,017.00
                                issues.

 02/16/2023   KHB     PD        PSZJ Team call re plan and related litigation issues.     0.90      1525.00       $1,372.50

 02/16/2023   GSG     PD        Meeting with PSZJ re plan status.                         0.90      1095.00        $985.50

 02/16/2023   JWL     PD        Call with PSZJ team and J. Baer regarding plan            0.90      1150.00       $1,035.00
                                issues and strategy (.9);

 02/16/2023   JE      PD        Review law related to analysis of various                 4.70      1450.00       $6,815.00
                                confirmation issues (1.7); and work on memo setting
                                discussing evidence in support of non-debtor third
                                party releases (3.0).

 02/16/2023   KBD     PD        Follow-up call regarding plan matters with B.             0.50      1395.00        $697.50
                                Michael.

 02/16/2023   KBD     PD        Analyze legal issues relating to plan.                    1.40      1395.00       $1,953.00
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 02/16/2023   KBD     PD        Call among PSZJ and Burns Bair regarding plan            0.90      1395.00       $1,255.50
                                matters.

 02/16/2023   BMM     PD        Research regarding future claims treatment in            0.50       875.00        $437.50
                                previous plans.

 02/16/2023   BMM     PD        Team meeting regarding ongoing case issues               0.90       875.00        $787.50
                                including plan confirmation.

 02/16/2023   BMM     PD        Review motion to approve disclosure statement.           1.30       875.00       $1,137.50

 02/16/2023   JMD     PD        Research regarding RFRA/Free Exercise issues for         5.10      1395.00       $7,114.50
                                Committee plan.

 02/16/2023   BMM     PD        Call with K. Dine regarding Diocese plan.                0.50       875.00        $437.50

 02/17/2023   IAWN PD           Telephone call with J. Stang regarding liquidation       0.10      1395.00        $139.50
                                analysis.

 02/17/2023   IAWN PD           Review emails with SCC regarding FCR.                    0.30      1395.00        $418.50

 02/17/2023   JIS     PD        Call with PSZJ regarding upcoming call with Debtor       0.50      1695.00        $847.50
                                re status hearing on plan and disclosure statement.

 02/17/2023   JIS     PD        Call with Debtor's counsel regarding status              0.40      1695.00        $678.00
                                conference on plan and disclosure statement.

 02/17/2023   JIS     PD        Call with PSZJ re next steps on plan and disclosure      0.80      1695.00       $1,356.00
                                statement.

 02/17/2023   MSP     PD        Telephone conference with J. Stang, J. Lucas, K.         0.50      1295.00        $647.50
                                Dine re: discussion with debtor’s counsel re: Plan.

 02/17/2023   MSP     PD        Telephone conference with J. Stang, debtor’s             1.20      1295.00       $1,554.00
                                counsel et al. re: status conference re: Plans (.40);
                                follow-up internal call (.80).

 02/17/2023   MSP     PD        Email exchange with K. Dine, J. Lucas, et al. re:        0.10      1295.00        $129.50
                                discussion re: Plan status conference.

 02/17/2023   MSP     PD        Email exchange with B. Michael, J. Merson, J.            0.50      1295.00        $647.50
                                Amala, P. Mones, et al. re: disposition of future
                                claims.

 02/17/2023   GSG     PD        Emails to/from K. Brown re parish claims.                0.10      1095.00        $109.50

 02/17/2023   GSG     PD        Emails from B. Michael re plans and Committee            0.10      1095.00        $109.50
                                voting.

 02/17/2023   JE      PD        Review law regarding various confirmation issues         6.30      1450.00       $9,135.00
                                (2.0); and work on memo setting discussing
                                evidence in support of non-debtor third party
                                releases (4.3).
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 02/17/2023   KBD     PD        Call with B. Michael regarding plan and disclosure     0.40      1395.00        $558.00
                                statement issues.

 02/17/2023   KBD     PD        Analyze legal issues relating to plan.                 1.40      1395.00       $1,953.00

 02/17/2023   BMM     PD        Revise motion for disclosure statement approval.       0.70       875.00        $612.50

 02/17/2023   BMM     PD        Call with K. Dine regarding motion to approve          0.40       875.00        $350.00
                                disclosure statement.

 02/17/2023   BMM     PD        Revise motion for disclosure statement approval.       0.50       875.00        $437.50

 02/17/2023   BMM     PD        Revise motion to approve disclosure statement.         2.20       875.00       $1,925.00

 02/18/2023   MSP     PD        Analysis re: non-debtor release issue (.80); email     0.90      1295.00       $1,165.50
                                exchange with J. Elkin, J. Lucas re: same (.10).

 02/18/2023   JE      PD        Review law related to analysis of various              4.80      1450.00       $6,960.00
                                confirmation issues (2.1) and work on memo setting
                                discussing evidence in support of non-debtor third
                                party releases (2.7).

 02/18/2023   JE      PD        Miscellaneous correspondence with M. Pagay             0.50      1450.00        $725.00
                                regarding plan.

 02/19/2023   IAWN PD           Email team regarding plan.                             0.10      1395.00        $139.50

 02/19/2023   IAWN PD           Review J. Lucas memorandum regarding diocese           0.60      1395.00        $837.00
                                plan.

 02/19/2023   MSP     PD        Email exchange with B. Michael, J. Refior, J.          0.10      1295.00        $129.50
                                Merson, et al. re: future claims treatment.

 02/19/2023   JE      PD        Review law related to analysis of various              4.00      1450.00       $5,800.00
                                confirmation issues (.5); and work on memo setting
                                discussing evidence in support of non-debtor third
                                party releases (3.5).

 02/19/2023   BMM     PD        Revise motion for disclosure statement approval.       0.60       875.00        $525.00

 02/20/2023   MSP     PD        Email exchange with B. Michael, J. Refior, J.          0.10      1295.00        $129.50
                                Merson, et al. re: future claims treatment.

 02/20/2023   JE      PD        Review law related to analysis of various              6.80      1450.00       $9,860.00
                                confirmation issues (3.8); and work on memo setting
                                discussing evidence in support of non-debtor third
                                party releases (3.0).

 02/20/2023   JMD     PD        Research and draft RFRA/1st Amendment issues           3.40      1395.00       $4,743.00
                                memorandum regarding Committee plan (3.4).

 02/21/2023   KBD     PD        Call with B. Michael regarding Plan.                   0.60      1395.00        $837.00
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 02/21/2023   HDH     PD        Research and complete draft of RFRA/BIT                  4.50      1350.00       $6,075.00

 02/21/2023   JIS     PD        Review plan issues related to Committee plan.            0.30      1695.00        $508.50

 02/21/2023   KHB     PD        Attend status conference (.7); PSZJ team call re         2.70      1525.00       $4,117.50
                                status conference debrief and impact on future
                                strategy (.8); confer with J. Lucas re plan and
                                disclosure statement issues (.2); analyze authorities
                                and memo on religious liberty issues and plan
                                confirmation issues (1.0).

 02/21/2023   MSP     PD        Attend status conference re: Plans (partial).            0.60      1295.00        $777.00

 02/21/2023   MSP     PD        Follow-up conference with J. Stang, B. Michael, et       0.80      1295.00       $1,036.00
                                al. re: results of status conference.

 02/21/2023   GSG     PD        Review B. Michael email re Committee agenda and          0.10      1095.00        $109.50
                                status.

 02/21/2023   TCF     PD        Review and analysis of issues regarding claims           0.30      1075.00        $322.50
                                valuation.

 02/21/2023   JE      PD        Review law related to analysis of various                3.40      1450.00       $4,930.00
                                confirmation issues (1.0); and work on memo setting
                                discussing evidence in support of non-debtor third
                                party releases (2.4).

 02/21/2023   KBD     PD        Strategize regarding plan options with J. Stang and      0.30      1395.00        $418.50
                                B. Michael.

 02/21/2023   KBD     PD        Analyze issues relating to plan and disclosure           0.40      1395.00        $558.00
                                statement.

 02/21/2023   BMM     PD        Call K. Dine regarding plan and case strategy.           0.60       875.00        $525.00

 02/21/2023   BMM     PD        Revise motion for disclosure statement approval.         0.50       875.00        $437.50

 02/21/2023   BMM     PD        Revise motion to approve disclosure statement.           0.70       875.00        $612.50

 02/21/2023   BMM     PD        Call with K. Dine and J. Stang regarding plan.           0.30       875.00        $262.50

 02/21/2023   KLL     PD        Review notices of depositions for scheduling.            0.30       545.00        $163.50

 02/22/2023   IAWN PD           Exchange emails with broker and Hull regarding           0.30      1395.00        $418.50
                                Ecclesia financials.

 02/22/2023   JIS     PD        Review Harry Hochman memo on RFRA and 1st                0.90      1695.00       $1,525.50
                                Amendment.

 02/22/2023   KHB     PD        Emails with H. Hochman and B. Michael re                 0.20      1525.00        $305.00
                                religious liberty issues.

 02/22/2023   MSP     PD        Email exchange with B. Michael, H. Hochman, G.           0.90      1295.00       $1,165.50
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                                                                                       Hours           Rate       Amount
                                Greenwood, K. Brown, J. Dine et al. re: Plan
                                briefing issue (.10) and review same (.90).
 02/22/2023   JE      PD        Review law related to analysis of various               2.50      1450.00        $3,625.00
                                confirmation issues (2.0) and work on memo setting
                                discussing evidence in support of non-debtor third
                                party releases (.5).

 02/22/2023   JMD     PD        Work on Committee plan RFRA/1st amendment               1.00      1395.00        $1,395.00
                                issues.

 02/23/2023   IAWN PD           Review BRG analysis of Ecclesia Workers                 0.30      1395.00         $418.50
                                Compensation reserves.

 02/23/2023   IAWN PD           Exchange emails with expert regarding reserves.         0.10      1395.00         $139.50

 02/23/2023   IAWN PD           Review objection to parish proofs of claim.             0.30      1395.00         $418.50

 02/23/2023   JIS     PD        Call J. Amala regarding open issues from Disclosure     0.20      1695.00         $339.00
                                Statement Conference.

 02/23/2023   MSP     PD        Email exchange with J. Elkin re: non-debtor release     0.10      1295.00         $129.50
                                consideration.

 02/23/2023   MSP     PD        Email exchange with T. Flanagan, A. Kornfeld, et al.    0.10      1295.00         $129.50
                                re: estimation issues.

 02/23/2023   MSP     PD        Email exchange with A. Kornfeld, T. Flanagan, J.        0.10      1295.00         $129.50
                                Lucas re: estimation.

 02/23/2023   MSP     PD        Email exchange with K. Dine, et al. re: potential       0.10      1295.00         $129.50
                                mediators.

 02/23/2023   GSG     PD        Review memo re RFRA issues and case updates.            1.40      1095.00        $1,533.00

 02/23/2023   GSG     PD        Review 2/2 transcript re mediation and plan             0.40      1095.00         $438.00
                                comments.

 02/23/2023   TCF     PD        Review and analysis of issues and project               2.60      1075.00        $2,795.00
                                development regarding claim valuation.

 02/23/2023   JE      PD        Review law related to analysis of various               7.20      1450.00       $10,440.00
                                confirmation issues (5.1); and work on memo setting
                                discussing evidence in support of non-debtor third
                                party releases (2.1).

 02/23/2023   JE      PD        Correspondence with K. Dine regarding potential         0.20      1450.00         $290.00
                                mediators.

 02/23/2023   BMM     PD        Revise Committee plan.                                  0.90       875.00         $787.50

 02/23/2023   BMM     PD        Revise Committee plan.                                  1.10       875.00         $962.50

 02/23/2023   JMD     PD        Research RFRA/1st Amendment issues regarding            2.40      1395.00        $3,348.00
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                                Committee plan (2.4).
 02/24/2023   AJK     PD        Review hearing transcript.                                0.60      1675.00       $1,005.00

 02/24/2023   HDH     PD        Conference call regarding RFRA and related plan           1.40      1350.00       $1,890.00
                                issues

 02/24/2023   IAWN PD           Review broker analysis of Ecclesia.                       0.20      1395.00        $279.00

 02/24/2023   IAWN PD           Exchange emails with broker regarding Ecclesia.           0.10      1395.00        $139.50

 02/24/2023   IAWN PD           Exchange emails with team Ecclesia and valuation.         0.30      1395.00        $418.50

 02/24/2023   JIS     PD        Call with PSZJ regarding RFRA and 1st Amendment           0.90      1695.00       $1,525.50
                                issues.

 02/24/2023   KHB     PD        PSZJ team call re religious liberty issues relating to    0.90      1525.00       $1,372.50
                                plan confirmation.

 02/24/2023   MSP     PD        Telephone conference with A. Kornfeld, T.                 0.50      1295.00        $647.50
                                Flanagan, J. Lucas re: estimation as part of plan
                                proceedings.

 02/24/2023   MSP     PD        Email exchange with A. Kornfeld, T. Flanagan, J.          0.10      1295.00        $129.50
                                Lucas re: transcript of status conference.

 02/24/2023   MSP     PD        Email exchange with K. Dine, et al. re: mediator          0.10      1295.00        $129.50
                                selection.

 02/24/2023   MSP     PD        Email exchange with J. Elkin, J. Lucas re:                1.10      1295.00       $1,424.50
                                non-debtor release issue (.10); review same (1.0).

 02/24/2023   JWL     PD        Call with A. Kornfeld, M. Pagay, and T. Flanagan          2.20      1150.00       $2,530.00
                                regarding plan estimation issues (.5); call with PSZJ
                                team regarding confirmation related issues (1.5);
                                review memo on committee plan process (.2);

 02/24/2023   TCF     PD        Telephone conference with A. Kornfeld, J. Lucas           0.50      1075.00        $537.50
                                and M. Pagay regarding plan, disclosure statement
                                and valuation issues.

 02/24/2023   TCF     PD        Review and analysis of issues regarding disclosure        0.80      1075.00        $860.00
                                statement and valuation issues.

 02/24/2023   TCF     PD        Email A. Kornfeld regarding valuation issues.             0.30      1075.00        $322.50

 02/24/2023   TCF     PD        Telephone conference (Zoom) with expert and A.            1.00      1075.00       $1,075.00
                                Kornfeld regarding valuation.

 02/24/2023   JE      PD        Review various pleadings and documents in Purdue          5.40      1450.00       $7,830.00
                                case related to analysis of various confirmation
                                issues and finalize memo setting discussing evidence
                                in support of non-debtor third party releases;
                                distribute same.
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 02/24/2023   KBD     PD        Telephone call with B. Michael regarding plan             0.40      1395.00        $558.00
                                issues.

 02/24/2023   KBD     PD        Call with PSZJ team regarding plan issues.                1.40      1395.00       $1,953.00

 02/24/2023   KBD     PD        Analyze issues relating to Committee disclosure           1.30      1395.00       $1,813.50
                                statement and plan.

 02/24/2023   BMM     PD        Team meeting regarding religious freedom issues.          1.40       875.00       $1,225.00

 02/24/2023   JMD     PD        Conference call J. Stang, K. Brown, J. Lucas, H.          2.80      1395.00       $3,906.00
                                Hochman, K. Dine, B. Michael regarding
                                Committee plan research issues (1.4). Research
                                regarding Committee plan issues (1.4).

 02/25/2023   KBD     PD        Analyze and prepare comments to revised                   1.20      1395.00       $1,674.00
                                Committee Plan.

 02/27/2023   AJK     PD        Prepare for call with expert re valuation.                1.70      1675.00       $2,847.50

 02/27/2023   IAWN PD           Telephone call with J. Stang regarding Ecclesia           0.40      1395.00        $558.00
                                issues.

 02/27/2023   IAWN PD           Preparation for telephone call with broker.               0.20      1395.00        $279.00

 02/27/2023   IAWN PD           Telephone call with broker regarding Ecclesia.            0.40      1395.00        $558.00

 02/27/2023   IAWN PD           Telephone call with team regarding Plan of                0.80      1395.00       $1,116.00
                                Reorganization.

 02/27/2023   IAWN PD           Review file and send memorandum to K. Brown               0.30      1395.00        $418.50
                                regarding Chapin.

 02/27/2023   IAWN PD           Exchange emails with G. Greenwood regarding               0.10      1395.00        $139.50
                                Porter outline.

 02/27/2023   IAWN PD           Telephone conferences with Burns Bair regarding           0.10      1395.00        $139.50
                                SIR.

 02/27/2023   IAWN PD           Telephone conferences with Burns Bair regarding           0.20      1395.00        $279.00
                                liquidation.

 02/27/2023   IAWN PD           Review K. Brown outline of C. Moore.                      0.20      1395.00        $279.00

 02/27/2023   IAWN PD           Exchange emails with K. Brown regarding Ecclesia          0.20      1395.00        $279.00
                                and Plan of Reorganization version.

 02/27/2023   JIS     PD        Call with I. Nasatir regarding Ecclesia and               0.40      1695.00        $678.00
                                liquidation analysis.

 02/27/2023   JIS     PD        (Partial) attend PSZJ call regarding plan, preliminary    0.70      1695.00       $1,186.50
                                injunction.
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 02/27/2023   KHB     PD        Confer with I. Nasatir re liquidation analysis issues    1.20      1525.00       $1,830.00
                                (.1); emails with I. Nasatir and B.Michael re same
                                (.3); PSZJ team call re plan issues and opposition to
                                stay motion (.8).

 02/27/2023   MSP     PD        Email exchange with B. Michael, J. Amala, J.             0.20      1295.00        $259.00
                                Merson, P. Mones, et al. re: Mediator selection.

 02/27/2023   GSG     PD        Review case re insurance neutrality issues.              0.20      1095.00        $219.00

 02/27/2023   GSG     PD        Call with B. Michael, K. Dine, J. Stang, I. Nasatir,     0.80      1095.00        $876.00
                                and K. Brown re committee plan and strategy.

 02/27/2023   TCF     PD        Telephone conference (Zoom) with expert and A.           1.20      1075.00       $1,290.00
                                Kornfeld regarding valuation.

 02/27/2023   TCF     PD        Review and analysis of issues and documents              0.80      1075.00        $860.00
                                regarding valuation.

 02/27/2023   KBD     PD        Analyze legal issues relating to Committee plan.         0.40      1395.00        $558.00

 02/27/2023   KBD     PD        PSZJ call regarding plan issues and strategy.            0.80      1395.00       $1,116.00

 02/27/2023   KBD     PD        Analyze plan issues and next steps with B. Michael.      0.80      1395.00       $1,116.00

 02/27/2023   BMM     PD        Edit Committee plan.                                     1.20       875.00       $1,050.00

 02/27/2023   BMM     PD        Calls with K. Dine, I. Nasatir, and I. Scharf            2.40       875.00       $2,100.00
                                regarding liquidation analysis and other issues.

 02/27/2023   BMM     PD        Edit Committee plan.                                     0.40       875.00        $350.00

 02/27/2023   BMM     PD        Call with PSZJ team regarding Committee plan.            0.80       875.00        $700.00

 02/27/2023   BMM     PD        Edit Committee plan.                                     0.90       875.00        $787.50

 02/27/2023   JMD     PD        Research re Committee plan confirmation issues           0.70      1395.00        $976.50
                                (0.7).

 02/28/2023   HDH     PD        Baby RFRA research                                       0.30      1350.00        $405.00

 02/28/2023   IAWN PD           Telephone call with Burns Bair LLP regarding Plan        0.20      1395.00        $279.00
                                of Reorganization.

 02/28/2023   JIS     PD        Call M. Hamilton regarding retention on RFRA and         0.40      1695.00        $678.00
                                First Amendment issues.

 02/28/2023   KHB     PD        Analyze authority re standing to bring fraudulent        1.10      1525.00       $1,677.50
                                transfer actions if debtor unable to confirm plan.

 02/28/2023   KBD     PD        Revisions to disclosure statement.                       2.40      1395.00       $3,348.00

 02/28/2023   BMM     PD        Edit Committee plan.                                     0.30       875.00        $262.50
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                                                                                        308.30                    $408,446.00

  Diocese Plan/Disclosure Stmt.
 02/01/2023   KHB     PDJD      Analyze DRVC disclosure statement (1.5); emails           1.80      1525.00         $2,745.00
                                from K. Dine and J. Bair re revisions to disclosure
                                statement (.3).

 02/02/2023   MSP     PDJD      Telephone conference with J. Lucas, T. Flanagan re:       0.70      1295.00          $906.50
                                Rockville disclosure statement objection.

 02/02/2023   MSP     PDJD      Email exchange with J. Lucas, T. Flanagan re:             0.10      1295.00          $129.50
                                objection to disclosure statement.

 02/02/2023   MSP     PDJD      Analysis of disclosure statement and plan objection       2.60      1295.00         $3,367.00
                                issues (2.20); email exchange with J. Lucas, B.
                                Michael, K. Dine, et al. re: same (.40).

 02/02/2023   MSP     PDJD      Email exchange with R. Gerber, B. Michael, et al.         0.10      1295.00          $129.50
                                re: future claims issues re: plans.

 02/02/2023   JWL     PDJD      Call with M. Pagay and T. Flanagan regarding              3.20      1150.00         $3,680.00
                                objection to debtor's disclosure statement (.7);
                                review plan and disclosure statement (.1.0); prepare
                                outline of disputed issues under plan and disclosure
                                statement (1.5).

 02/02/2023   TCF     PDJD      Review and analysis of pleadings and materials            3.20      1075.00         $3,440.00
                                regarding objection to Diocese disclosure statement.

 02/03/2023   BMM     PDJD      Analyze Diocese's disclosure statement.                   2.30       875.00         $2,012.50

 02/06/2023   MSP     PDJD      Work on disclosure statement and plan objection           4.70      1295.00         $6,086.50
                                issues (4.50); email exchange with J. Lucas, J.
                                O'Neill and T. Flanagan re: same (.20).

 02/06/2023   JWL     PDJD      Work on objection to debtor's disclosure statement.       1.50      1150.00         $1,725.00

 02/07/2023   MSP     PDJD      Telephone call with J. Lucas, T. Flanagan re:             0.50      1295.00          $647.50
                                objection to debtor’s disclosure statement.

 02/07/2023   MSP     PDJD      Attention to competing plan strategy and objection        3.10      1295.00         $4,014.50
                                to disclosure statement (3.0); email exchange with J.
                                Stang, J. Lucas, B. Michael, T. Flanagan, K. Brown,
                                et al. re: same (.10).

 02/07/2023   MSP     PDJD      Email exchange with K. Dine, K. Brown, B.                 0.50      1295.00          $647.50
                                Michael, J. Stang, I. Nasatir, J. Lucas, et al. re:
                                Judge’s status conference re: plans.

 02/07/2023   JWL     PDJD      Emails with PSZJ team regarding debtor's disclosure       1.10      1150.00         $1,265.00
                                statement issues (.6); call with T. Flanagan and M.
                                Pagay regarding objections to debtor's disclosure
                                statement (.5).
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 02/07/2023   KBD     PDJD      Analyze correspondence among PSZJ relating               0.30      1395.00        $418.50
                                Disclosure statement issues.

 02/07/2023   KBD     PDJD      Analyze disclosure statement issues relating to          0.80      1395.00       $1,116.00
                                Diocese Disclosure Statement.

 02/07/2023   BMM     PDJD      Research regarding plan confirmation.                    1.30       875.00       $1,137.50

 02/08/2023   JIS     PDJD      Call with K. Dine and B. Michael re issues related to    1.20      1695.00       $2,034.00
                                adequacy of Debtor's disclosure statement.

 02/08/2023   MSP     PDJD      Telephone call with J. Lucas, T. Flanagan re:            0.30      1295.00        $388.50
                                Debtor’s disclosure statement.

 02/08/2023   MSP     PDJD      Work on plan and disclosure statement objection          3.90      1295.00       $5,050.50
                                issues and review additional materials provided
                                today re (3.7): same; email exchange with J. Lucas,
                                T. Flanagan, B. Michael, et al. re: same (.20).

 02/08/2023   JWL     PDJD      Attend call with PSZJ team regarding objections to       1.80      1150.00       $2,070.00
                                debtor's disclosure statement and committee's plan
                                and disclosure statement process (1.5); call with T.
                                Flanagan and M. Pagay regarding DS objection (.3);

 02/08/2023   KBD     PDJD      Call with B. Michael and J. Stang regarding Diocese      1.30      1395.00       $1,813.50
                                Disclosure Statement issues.

 02/08/2023   KBD     PDJD      Analyze legal issues relating to Diocese disclosure.     1.40      1395.00       $1,953.00

 02/08/2023   KBD     PDJD      Strategy call with PSZJ team regarding disclosure        1.50      1395.00       $2,092.50
                                statement matters.

 02/08/2023   BMM     PDJD      Call with K. Dine and J. Stang regarding Diocese         1.30       875.00       $1,137.50
                                disclosure statement and approval process.

 02/08/2023   BMM     PDJD      Strategy call with PSZJ team regarding disclosure        1.50       875.00       $1,312.50
                                statement matters.

 02/09/2023   KBD     PDJD      Analyze legal issues relating to Jones Day               2.30      1395.00       $3,208.50
                                Disclosure/Plan.

 02/10/2023   TCF     PDJD      Draft objection to Diocese disclosure statement.         4.20      1075.00       $4,515.00

 02/10/2023   TCF     PDJD      Continued drafting of objection to Diocese               4.40      1075.00       $4,730.00
                                disclosure statement.

 02/10/2023   BMM     PDJD      Call with Judges Gerber and Hogan regarding future       1.30       875.00       $1,137.50
                                claims.

 02/11/2023   MSP     PDJD      Work on objection to plan and disclosure statement       1.80      1295.00       $2,331.00
                                issues and revise draft objection (1.7); email
                                exchange with J. Lucas, T. Flanagan re: same (.10).
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 02/12/2023   MSP     PDJD      Email exchange with T. Flanagan, J. Lucas re: draft     0.10      1295.00        $129.50
                                objection to disclosure statement.

 02/12/2023   TCF     PDJD      Drafting of objection to Diocese disclosure             5.20      1075.00       $5,590.00
                                statement.

 02/13/2023   MSP     PDJD      Work on objection to plan and disclosure statement      1.90      1295.00       $2,460.50
                                issues and revise draft objection (1.8); email
                                exchange with J. Elkin, J. Lucas, et al. re: same
                                (.10).

 02/13/2023   JWL     PDJD      Review plan and disclosure statement (2.9); outline     5.00      1150.00       $5,750.00
                                of objection issues for disclosure statement (1.1);
                                prepare letter to debtor regarding disclosure
                                statement (1.0).

 02/13/2023   KBD     PDJD      Analyze Diocese plan and disclosure statement.          1.20      1395.00       $1,674.00

 02/14/2023   MSP     PDJD      Telephone call with J. Lucas re: objection to plan      0.30      1295.00        $388.50
                                and disclosure statement strategy.

 02/14/2023   MSP     PDJD      Continue review of draft objection to disclosure        1.90      1295.00       $2,460.50
                                statement (1.80); email exchange with J. Lucas, T.
                                lanagan re: same (.10).

 02/14/2023   JWL     PDJD      Call with M. Pagay regarding objection to debtor's      1.50      1150.00       $1,725.00
                                disclosure statement (.3); work on outline for
                                disclosure statement issues (1.2).

 02/14/2023   KBD     PDJD      Analyze and prepare summary of Diocese Plan.            1.80      1395.00       $2,511.00

 02/14/2023   KBD     PDJD      Call with B. Michael regarding Diocese plan issues.     1.10      1395.00       $1,534.50

 02/15/2023   MSP     PDJD      Email exchange with B. Michael re: status of            0.10      1295.00        $129.50
                                objection to disclosure statement and letter.

 02/15/2023   KBD     PDJD      Analyze Debtor plan and disclosure statement.           0.90      1395.00       $1,255.50

 02/16/2023   JIS     PDJD      Review memo regarding Debtor's plan.                    0.30      1695.00        $508.50

 02/16/2023   MSP     PDJD      Finalize revisions to draft objection to disclosure     4.80      1295.00       $6,216.00
                                statement (4.70); email exchange with T. Flanagan,
                                J. Lucas re: same (.10).

 02/16/2023   TCF     PDJD      Review and analysis of issues regarding objection to    0.60      1075.00        $645.00
                                Diocese disclosure statement.

 02/17/2023   JWL     PDJD      Call with PSZJ regarding debtor's disclosure            1.70      1150.00       $1,955.00
                                statement and call with Jones Day (.5); call with
                                Jones Day, J. Stang, K. Dine, and M. Pagay
                                regarding status conference and disclosure statement
                                issues (.4); follow call with same PSZJ regarding
                                disclosure strategy issues (.8).
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 02/17/2023   KBD     PDJD      Prepare for call w/Jones Day with J. Stang, M.            0.50       1395.00          $697.50
                                Pagay, and J. Lucas.

 02/17/2023   KBD     PDJD      Prepare summary of Diocese Plan.                          2.20       1395.00         $3,069.00

 02/17/2023   KBD     PDJD      Call with Jones Day regarding ongoing case issues.        0.40       1395.00          $558.00

 02/17/2023   KBD     PDJD      Follow-up call regarding plan issues with J. Stang, J.    0.80       1395.00         $1,116.00
                                Lucas, M. Pagay and B. Michael (for part).

 02/17/2023   BMM     PDJD      Call with Diocese regarding status conference.            0.40        875.00          $350.00

 02/17/2023   BMM     PDJD      Meeting with team regarding Jones Day status              0.60        875.00          $525.00
                                conference meeting (partial).

 02/20/2023   KBD     PDJD      Prepare summary of Diocese Plan.                          1.70       1395.00         $2,371.50

 02/21/2023   KBD     PDJD      Analyze Diocese plan and disclosure statement.            0.70       1395.00          $976.50

 02/22/2023   TCF     PDJD      Review and analysis of issues regarding objection to      1.20       1075.00         $1,290.00
                                Diocese disclosure statement.

                                                                                          92.90                    $113,128.50

  Preliminary Injunction
 02/01/2023   GNB     PINJ      Review email from G. Greenwood regarding                  0.10        975.00           $97.50
                                Debtor's discovery responses and document review.

 02/01/2023   KHB     PINJ      Emails with court and G. Greenwood re disposition         0.80       1525.00         $1,220.00
                                of sealed documents on termination of case (.3);
                                emails with G. Greenwood re DRVC discovery
                                responses and document production (.2); emails
                                from E. Stephens re same (.2); emails from A. Butler
                                re joint sealing request (.1).

 02/01/2023   BEL     PINJ      Review Debtor's discovery response                        0.80       1095.00          $876.00

 02/01/2023   GSG     PINJ      Finalize discovery responses (.3), and emails re          0.40       1095.00          $438.00
                                same (.1).

 02/01/2023   GSG     PINJ      Email from/to court re sealing of Agreed Coverage         0.10       1095.00          $109.50
                                Summary.

 02/01/2023   GSG     PINJ      Emails to/from G. Brown and B. Levine re                  0.50       1095.00          $547.50
                                discovery responses and document review.

 02/01/2023   GSG     PINJ      Emails to/from G. Brown and B. Levine re                  0.30       1095.00          $328.50
                                scheduling and status.

 02/01/2023   GSG     PINJ      Review Diocese responses to interrogatory                 1.10       1095.00         $1,204.50
                                responses and document requests, and notes re same.
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                                                                                       Hours           Rate     Amount

 02/01/2023   GSG     PINJ      Draft/revise objection to preliminary injunction re     4.20      1095.00       $4,599.00
                                competing plans.

 02/01/2023   GSG     PINJ      Review emails from A. Butler (.4) and confer with       0.50      1095.00        $547.50
                                M. Renck re downloads and circulation (.1).

 02/01/2023   KBD     PINJ      Analyze discovery matters relating to preliminary       0.40      1395.00        $558.00
                                injunction.

 02/02/2023   GNB     PINJ      Prepare for conference call today by reviewing          0.20       975.00        $195.00
                                discovery responses from Debtor.

 02/02/2023   GNB     PINJ      Email with K. LaBrada regarding upload of Debtor’s      0.10       975.00         $97.50
                                documents to Everlaw.

 02/02/2023   GNB     PINJ      Attend video conference with PSZJ team regarding        0.70       975.00        $682.50
                                discovery responses, document review, and
                                deposition preparation.

 02/02/2023   GNB     PINJ      Begin review of documents produced by Debtor for        0.10       975.00         $97.50
                                deposition preparation and opposition brief.

 02/02/2023   GNB     PINJ      Email with G. Greenwood and K. LaBrada regarding        0.10       975.00         $97.50
                                Everlaw upload of documents produced by Debtor
                                yesterday.

 02/02/2023   KHB     PINJ      (partial) Call with PSZJ re document review and         0.50      1525.00        $762.50
                                deposition prep.

 02/02/2023   BEL     PINJ      Zoom meeting with PSZJ regarding document               0.70      1095.00        $766.50
                                review.

 02/02/2023   GSG     PINJ      Review Diocese responses to RFAs.                       0.40      1095.00        $438.00

 02/02/2023   GSG     PINJ      Emails to/from G. Brown re database and                 0.20      1095.00        $219.00
                                documents.

 02/02/2023   GSG     PINJ      Revise/draft opposition to preliminary injunction re    0.60      1095.00        $657.00
                                footnotes.

 02/02/2023   GSG     PINJ      Review email from J. Elkin re contribution issues       0.30      1095.00        $328.50
                                and respond re same.

 02/02/2023   GSG     PINJ      Call with PSZJ re discovery and document review.        0.70      1095.00        $766.50

 02/02/2023   KLL     PINJ      Review and upload documents relating to                 1.80       545.00        $981.00
                                preliminary injunction discovery production.

 02/03/2023   GNB     PINJ      Email B. Michael regarding documents produced by        0.10       975.00         $97.50
                                Debtor yesterday.

 02/03/2023   IAWN PINJ         Telephone call with J. Stang regarding Ecclesia.        0.30      1395.00        $418.50
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                                                                                      Hours           Rate     Amount

 02/03/2023   KHB     PINJ      Review DRVC discovery responses and emails to J.       1.20      1525.00       $1,830.00
                                Bair and I. Nasatir re same.

 02/03/2023   GSG     PINJ      Review state court pleadings from Diocese and notes    1.30      1095.00       $1,423.50
                                re same.

 02/03/2023   GSG     PINJ      Review Everlaw database re status and documents.       0.20      1095.00        $219.00

 02/03/2023   GSG     PINJ      Review NY CPLR re affirmative defenses raised in       0.40      1095.00        $438.00
                                state court actions

 02/03/2023   KBD     PINJ      Draft letter to E. Stephens regarding documents.       0.40      1395.00        $558.00

 02/05/2023   CHM     PINJ      Attention to Everlaw database.                         0.20       925.00        $185.00

 02/06/2023   GNB     PINJ      Review and analyze documents produced by Debtor        0.90       975.00        $877.50
                                on February 1 for deposition preparation and
                                opposition brief.

 02/06/2023   KHB     PINJ      Emails with J. Bair re DRVC discovery responses        2.60      1525.00       $3,965.00
                                (.1); review documents produced by DRVC (2.5).

 02/06/2023   GSG     PINJ      Draft/revise opposition re indemnity issues.           0.50      1095.00        $547.50

 02/06/2023   GSG     PINJ      Review responses re insurance issues and prepare       0.90      1095.00        $985.50
                                chart.

 02/06/2023   GSG     PINJ      Emails to/from G. Brown re database and review.        0.20      1095.00        $219.00

 02/06/2023   GSG     PINJ      Emails to/from K. Brown re discovery responses.        0.30      1095.00        $328.50

 02/07/2023   GNB     PINJ      Review and analyze documents produced by Debtor        1.40       975.00       $1,365.00
                                on February 1.

 02/07/2023   GNB     PINJ      Review emails from K. Brown regarding analysis of      0.10       975.00         $97.50
                                documents produced by Debtor on February 1.

 02/07/2023   KHB     PINJ      Review documents produced by DRVC.                     2.30      1525.00       $3,507.50

 02/07/2023   BEL     PINJ      Emails regarding Debtor document production.           0.10      1095.00        $109.50

 02/07/2023   GSG     PINJ      Emails to/from G. Brown and B. Levine re Everlaw       0.30      1095.00        $328.50
                                and discovery.

 02/07/2023   GSG     PINJ      Emails to/from C. Tergevorkian re insurance            0.20      1095.00        $219.00
                                coverage analysis and spreadsheet.

 02/07/2023   GSG     PINJ      Review state court pleadings re injunction issues.     1.60      1095.00       $1,752.00

 02/07/2023   GSG     PINJ      Emails to/from G. Brown re discovery status and        0.20      1095.00        $219.00
                                Everlaw tags.

 02/07/2023   GSG     PINJ      Review spreadsheet re insurance coverage and           0.50      1095.00        $547.50
                                allocation of cases.
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 02/07/2023   GSG     PINJ      Email J. Bair re insurance allocation numbers in          0.50      1095.00        $547.50
                                opposition brief.

 02/07/2023   GSG     PINJ      Prepare blackline and circulate objection brief and       0.30      1095.00        $328.50
                                comments.

 02/07/2023   KBD     PINJ      Revise draft letter to E. Stephens regarding              0.30      1395.00        $418.50
                                discovery.

 02/07/2023   BMM     PINJ      Revise draft preliminary injunction opposition.           2.50       875.00       $2,187.50

 02/07/2023   KLL     PINJ      Correspond with B. Levine re preliminary injunction       0.30       545.00        $163.50
                                discovery production and upload of same.

 02/08/2023   GNB     PINJ      Video conference with B. Levine and G. Greenwood          0.70       975.00        $682.50
                                regarding analysis of documents produced by Debtor
                                on February 1 and preparation for
                                depositions/evidentiary hearing on preliminary
                                injunction.

 02/08/2023   GNB     PINJ      Email with K. LaBrada regarding Everlaw database          0.10       975.00         $97.50
                                of documents produced by Debtor on February 1.

 02/08/2023   KHB     PINJ      Review authorities re parish indemnity rights (.7);       2.20      1525.00       $3,355.00
                                work on opposition to motion for stay (1.5).

 02/08/2023   BEL     PINJ      Zoom meeting with G. Greenwood and Gillian                0.70      1095.00        $766.50
                                Brown regarding document review.

 02/08/2023   BEL     PINJ      Document review for opposition brief.                     1.70      1095.00       $1,861.50

 02/08/2023   GSG     PINJ      Emails to/from J. Bair re insurance issues.               0.20      1095.00        $219.00

 02/08/2023   GSG     PINJ      Review state court pleadings re necessary party           0.90      1095.00        $985.50
                                defense.

 02/08/2023   GSG     PINJ      Conference call with G. Brown and B. Levine re            0.70      1095.00        $766.50
                                discovery issues and review.

 02/08/2023   GSG     PINJ      Emails to/from G. Brown and B. Levine re searches         0.40      1095.00        $438.00
                                and tagging.

 02/08/2023   JE      PINJ      Review law regarding jurisdiction to grant                1.30      1450.00       $1,885.00
                                third-party releases as relating to stay of non-debtor
                                third party litigation.

 02/08/2023   KBD     PINJ      Analyze discovery and information relating to             0.70      1395.00        $976.50
                                preliminary injunction.

 02/08/2023   BMM     PINJ      Revise draft preliminary injunction opposition.           1.20       875.00       $1,050.00

 02/09/2023   GNB     PINJ      Analyze documents produced by Debtor on                   0.20       975.00        $195.00
                                February 1 for deposition preparation and opposition
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                                brief.
 02/09/2023   KHB     PINJ      Emails with J. Elkin re opposition to stay motion       0.60      1525.00        $915.00
                                (.2); review documents produced by DRVC (.4).

 02/09/2023   BEL     PINJ      Telephone conference with Gail Greenwood                0.20      1095.00        $219.00
                                regarding document review issues.

 02/09/2023   GSG     PINJ      Telephone call and email to J. Stang re state court     0.20      1095.00        $219.00
                                litigation.

 02/09/2023   GSG     PINJ      Emails to/from B. Levine (.1) and call re document      0.30      1095.00        $328.50
                                review (.2).

 02/09/2023   JE      PINJ      Correspondence with K. Brown regarding issues           0.20      1450.00        $290.00
                                involved in 362/injunction motion.

 02/09/2023   KBD     PINJ      Finalize letter to E. Stephens (Jones Day) regarding    0.20      1395.00        $279.00
                                discovery.

 02/10/2023   GNB     PINJ      Telephone conference with G. Greenwood regarding        0.10       975.00         $97.50
                                analysis of documents produced by Debtor.

 02/10/2023   GNB     PINJ      Email with K. LaBrada regarding docket search           0.10       975.00         $97.50
                                relating to documents produced by Debtor.

 02/10/2023   GNB     PINJ      Analyze documents produced by Debtor for                0.30       975.00        $292.50
                                deposition preparation and opposition brief.

 02/10/2023   IAWN PINJ         Review discovery responses and VFR production.          1.40      1395.00       $1,953.00

 02/10/2023   KHB     PINJ      Emails to PSZJ team re verdicts in state court          0.60      1525.00        $915.00
                                actions (.2); emails with E. Stephens re deposition
                                logistics (.2); emails with G. Greenwood concerning
                                testimony by state court counsel (.2).

 02/10/2023   BEL     PINJ      Work on document review of Debtor production.           1.60      1095.00       $1,752.00

 02/10/2023   GSG     PINJ      Review and annotate state court pleadings re            0.90      1095.00        $985.50
                                document issues.

 02/10/2023   JE      PINJ      Correspondence with B. Michael regarding state          0.20      1450.00        $290.00
                                court litigation.

 02/11/2023   GNB     PINJ      Analyze documents produced by Debtor for                1.30       975.00       $1,267.50
                                deposition preparation and opposition brief.

 02/11/2023   GNB     PINJ      Email G. Greenwood and B. Levine regarding              0.10       975.00         $97.50
                                factual and legal arguments for opposition to motion
                                for preliminary injunction.

 02/11/2023   BEL     PINJ      Review documents produced by Debtor.                    3.20      1095.00       $3,504.00

 02/12/2023   GNB     PINJ      Email with B. Levine and G. Greenwood regarding         0.10       975.00         $97.50
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                                analysis of documents produced by Debtor.
 02/12/2023   IAWN PINJ         Review draft objection to preliminary injunction.       0.80      1395.00       $1,116.00

 02/12/2023   BEL     PINJ      Review documents produced by Debtor.                    1.00      1095.00       $1,095.00

 02/12/2023   BEL     PINJ      Review documents produced by Debtor.                    3.40      1095.00       $3,723.00

 02/12/2023   BEL     PINJ      Review documents produced by Debtor.                    2.80      1095.00       $3,066.00

 02/12/2023   GSG     PINJ      Emails to/from G. Brown and B. Levine re                0.20      1095.00        $219.00
                                document review.

 02/12/2023   GSG     PINJ      Review state court docket re discovery and motion       0.20      1095.00        $219.00
                                status.

 02/13/2023   GNB     PINJ      Analyze documents produced by Debtor for                1.20       975.00       $1,170.00
                                deposition preparation and opposition brief.

 02/13/2023   GNB     PINJ      Analyze documents produced by Debtor for                0.30       975.00        $292.50
                                deposition preparation and opposition brief.

 02/13/2023   BEL     PINJ      Analysis of DRVC affirmation defenses in State          1.60      1095.00       $1,752.00
                                Court Actions.

 02/13/2023   GSG     PINJ      Review docket re parish joinders.                       0.20      1095.00        $219.00

 02/13/2023   GSG     PINJ      Prepare email to E. Stephens re witnesses and           0.30      1095.00        $328.50
                                testimony.

 02/13/2023   GSG     PINJ      Emails to/from K. Brown and E. Stephens re call         0.20      1095.00        $219.00
                                scheduling to discuss discovery.

 02/13/2023   GSG     PINJ      Emails to individual state court counsel re death       0.50      1095.00        $547.50
                                certificates and depo scheduling.

 02/13/2023   GSG     PINJ      Review Diocese interrogatory responses re litigation    3.30      1095.00       $3,613.50
                                burdens and coordination.

 02/13/2023   GSG     PINJ      Review state court pleadings re affirmative defenses    0.70      1095.00        $766.50
                                and cross-claims.

 02/13/2023   GSG     PINJ      Review state court pleadings re document responses      2.10      1095.00       $2,299.50
                                and productions by Diocese.

 02/13/2023   GSG     PINJ      Email K. Brown and B. Michael re state court            0.20      1095.00        $219.00
                                counsel depositions.

 02/14/2023   KHB     PINJ      Consider discovery logistics and deposition             1.40      1525.00       $2,135.00
                                scheduling (.2); call with Jones Day re same (.2);
                                emails with G. Greenwood re deposition prep and
                                scheduling (.2); emails from J. Bair re insurance
                                coverage issues for State Court Actions (.2); emails
                                to and from Gail Greenwood and SCC re obtaining
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                                death certificates (.3); deposition prep (.3).
 02/14/2023   BEL     PINJ      Draft email to G. Greenwood regarding potential          0.80      1095.00        $876.00
                                line of deposition questions.

 02/14/2023   BEL     PINJ      Review documents produced by Debtor.                     2.60      1095.00       $2,847.00

 02/14/2023   BEL     PINJ      Review documents produced by Debtor.                     2.50      1095.00       $2,737.50

 02/14/2023   GSG     PINJ      Call with K. Brown, E. Stephens, and T. Geremia re       0.30      1095.00        $328.50
                                depo scheduling.

 02/14/2023   GSG     PINJ      Email E. Stephens re identification of deceased          0.20      1095.00        $219.00
                                survivors and follow-up to conference call.

 02/14/2023   GSG     PINJ      Review email from J. Bair re insurance issues.           0.20      1095.00        $219.00

 02/15/2023   IAWN PINJ         Exchange emails with G. Greenwood regarding              0.10      1395.00        $139.50
                                Moore deposition.

 02/15/2023   KHB     PINJ      Work on opposition to stay motion and integrate          4.30      1525.00       $6,557.50
                                discovery responses and admissions to brief (3.5);
                                emails with G. Greenwood, B. Michael and K. Dine
                                re deposition prep issues (.3); emails with G.
                                Greenwood re depo notices (.2); emails with G.
                                Greenwood and State Court Counsel re obtaining
                                death certificates (.3).

 02/15/2023   GSG     PINJ      Review insurance analysis from J. Bair and compare       1.50      1095.00       $1,642.50
                                numbers.

 02/15/2023   GSG     PINJ      Telephone call with J. Bair re insurance analysis and    0.10      1095.00        $109.50
                                non-impacted cases.

 02/15/2023   GSG     PINJ      Emails to/from J. Bair and C. Tergevorkian re            0.30      1095.00        $328.50
                                insurance analysis.

 02/15/2023   GSG     PINJ      Emails to/from K. Brown re depositions.                  0.10      1095.00        $109.50

 02/15/2023   GSG     PINJ      Emails to/from PSZJ team re depo scheduling and          0.30      1095.00        $328.50
                                reporter.

 02/15/2023   GSG     PINJ      Emails to/from C. Tergevorkian re insurance chart.       0.20      1095.00        $219.00

 02/15/2023   GSG     PINJ      Email to/from K. Brown re indemnity.                     0.10      1095.00        $109.50

 02/15/2023   GSG     PINJ      Email B. Levine (.1) and review docket re                0.20      1095.00        $219.00
                                depositions (.1).

 02/15/2023   GSG     PINJ      Follow-up emails to SCC re death certificates (.2)       0.40      1095.00        $438.00
                                and emails to/from L. Canty re depositions (.2).

 02/15/2023   GSG     PINJ      Prepare deposition notice re C. Moore.                   0.30      1095.00        $328.50
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 02/15/2023   GSG     PINJ      Review and tag discovery documents and notes from       1.30      1095.00       $1,423.50
                                Debtor re amended responses.

 02/16/2023   KHB     PINJ      Work on opposition brief to motion to stay              3.10      1525.00       $4,727.50
                                non-debtor litigation (2.7); review and revise
                                deposition notices (.2); confer with G. Greenwood re
                                depo prep (.2).

 02/16/2023   KHB     PINJ      Conference with G. Greenwood regarding                  0.10      1525.00        $152.50
                                opposition brief.

 02/16/2023   GSG     PINJ      Email E. Stephens re depositions and scheduling.        0.20      1095.00        $219.00

 02/16/2023   GSG     PINJ      Review Diocese documents re state court discovery       0.50      1095.00        $547.50
                                and tag same.

 02/16/2023   GSG     PINJ      Review tagged documents and notes from B. Levine.       0.20      1095.00        $219.00

 02/16/2023   GSG     PINJ      Emails to/from SCC re death certificates.               0.30      1095.00        $328.50

 02/16/2023   GSG     PINJ      Review updated insurance coverage spreadsheet           0.10      1095.00        $109.50
                                from C. Tergevorkian.

 02/16/2023   GSG     PINJ      Review nondebtor pleadings and notes from G.            1.10      1095.00       $1,204.50
                                Brown re same.

 02/16/2023   GSG     PINJ      Prepare additional depo notices (.2) and email K.       0.40      1095.00        $438.00
                                Brown and I. Nasatir, and revise same (.2).

 02/16/2023   GSG     PINJ      Review debtor discovery and filings.                    0.20      1095.00        $219.00

 02/16/2023   GSG     PINJ      Begin outline of C. Moore depo issues.                  0.60      1095.00        $657.00

 02/16/2023   GSG     PINJ      Confer with K. Brown re opposition brief.               0.10      1095.00        $109.50

 02/16/2023   KBD     PINJ      Review notices of deposition.                           0.10      1395.00        $139.50

 02/17/2023   KHB     PINJ      Work on opposition to stay motion (2.7); review         3.00      1525.00       $4,575.00
                                authorities re parish indemnity and contribution
                                claims (.3).

 02/17/2023   GSG     PINJ      Emails to/from G. Kosmakos re death certificates.       0.10      1095.00        $109.50

 02/17/2023   GSG     PINJ      Review email from J. Elkin re contribution and          0.20      1095.00        $219.00
                                indemnity issues.

 02/17/2023   GSG     PINJ      Emails to/from K. Brown re BRG and insurance            0.10      1095.00        $109.50
                                issues.

 02/17/2023   GSG     PINJ      Email B. Michael re priest files.                       0.10      1095.00        $109.50

 02/17/2023   GSG     PINJ      Confer with M. Renck re depo service and                0.10      1095.00        $109.50
                                certificates of service.
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 02/17/2023   GSG     PINJ      Review first-day declaration to outline questions for    2.30      1095.00       $2,518.50
                                C. Moore.

 02/18/2023   GSG     PINJ      Draft C. Moore depo outline.                             1.80      1095.00       $1,971.00

 02/19/2023   BEL     PINJ      Review documents produced by the Debtor.                 0.80      1095.00        $876.00

 02/19/2023   BEL     PINJ      Review and analyze documents produced by the             2.40      1095.00       $2,628.00
                                Debtor.

 02/19/2023   BEL     PINJ      Review and analyze documents produced by the             0.50      1095.00        $547.50
                                Debtor.

 02/19/2023   GSG     PINJ      Draft C. Moore depo outline.                             2.30      1095.00       $2,518.50

 02/20/2023   GNB     PINJ      Analyze documents produced by Debtor on                  0.20       975.00        $195.00
                                February 1 for deposition preparation and opposition
                                brief.

 02/20/2023   GNB     PINJ      Email G. Greenwood and B. Levine regarding               0.10       975.00         $97.50
                                deposition strategy.

 02/20/2023   BEL     PINJ      Review and analyze documents produced by the             1.90      1095.00       $2,080.50
                                Debtor.

 02/20/2023   GSG     PINJ      Review additional documents tagged by G. Brown           0.60      1095.00        $657.00
                                and B. Levine.

 02/20/2023   GSG     PINJ      Draft C. Moore depo outline.                             4.20      1095.00       $4,599.00

 02/20/2023   GSG     PINJ      Review death certificates from SCC (.2) and draft        0.40      1095.00        $438.00
                                email re same (.2).

 02/21/2023   GNB     PINJ      Email with G. Greenwood regarding document               0.10       975.00         $97.50
                                analysis.

 02/21/2023   JIS     PINJ      Call with PSZJ litigation team regarding preliminary     0.20      1695.00        $339.00
                                injunction.

 02/21/2023   KHB     PINJ      Work on deposition prep (.5); work on opposition to      1.20      1525.00       $1,830.00
                                motion for stay (.5); confer with J. Stang re
                                opposition strategy (.2).

 02/21/2023   GSG     PINJ      Confer with M. Renck and email E. Stephens re            0.20      1095.00        $219.00
                                death certificates and depo notices.

 02/21/2023   GSG     PINJ      Draft Moore depo outline re necessary parties,           5.70      1095.00       $6,241.50
                                discovery responses, and issues in cases not naming
                                Diocese.

 02/21/2023   GSG     PINJ      Review and collect parallel answers, complaints, and     3.10      1095.00       $3,394.50
                                discovery re Moore exhibits and depo issues.
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 02/21/2023   GSG     PINJ      Emails to/from L. Canty and K. LaBrada re                 0.20      1095.00        $219.00
                                deposition logistics.

 02/21/2023   LSC     PINJ      Coordinate scheduling of court reporters for              0.80       545.00        $436.00
                                upcoming depositions.

 02/22/2023   GNB     PINJ      Analyze documents produced by Debtor on                   0.60       975.00        $585.00
                                February 1 for deposition preparation and opposition
                                brief.

 02/22/2023   KHB     PINJ      Emails with SCC re opposition to stay motion (.2);        3.60      1525.00       $5,490.00
                                work on opposition to stay motion and review recent
                                authority and briefing re same (1.6); prepare for C.
                                Moore deposition (1.5) ; emails with J. Stang and B.
                                Michael re SCC joinders (.2); review SCC joinders
                                (.1).

 02/22/2023   GSG     PINJ      Emails to/from SCC re death certificate.                  0.10      1095.00        $109.50

 02/22/2023   GSG     PINJ      Email E. Stephens re death certificate and stipulation    0.20      1095.00        $219.00
                                re evidence.

 02/22/2023   GSG     PINJ      Emails to K. Brown re C. Moore depo and exhibits.         0.90      1095.00        $985.50

 02/22/2023   JE      PINJ      Review law on non-debtor third party injunctions.         1.00      1450.00       $1,450.00

 02/22/2023   JE      PINJ      Correspondence with K. Brown regarding                    0.20      1450.00        $290.00
                                non-debtor injunctions.

 02/22/2023   JE      PINJ      Review law on third party injunctions                     0.50      1450.00        $725.00

 02/22/2023   KBD     PINJ      Analyze discovery matters relating to preliminary         0.40      1395.00        $558.00
                                injunction hearing.

 02/23/2023   KHB     PINJ      Confer with G. Greenwood re opposition to stay            0.40      1525.00        $610.00
                                motion and evidentary issues (.2); emails to G.
                                Greenwood re same (.2).

 02/23/2023   GSG     PINJ      Call with K. Brown re admissibility of evidence.          0.20      1095.00        $219.00

 02/23/2023   GSG     PINJ      Review Everlaw re additional Diocese production.          0.20      1095.00        $219.00

 02/23/2023   GSG     PINJ      Review and update opposition brief.                       1.60      1095.00       $1,752.00

 02/23/2023   GSG     PINJ      Prepare exhibits from BRG spreadsheet of insurance        1.10      1095.00       $1,204.50
                                summary (.9) and email J. Bair, T. Burns, I. Nasatir
                                and team re same (.2).

 02/23/2023   KLL     PINJ      Review production re IRCP production and upload           0.60       545.00        $327.00
                                to Everlaw.

 02/23/2023   KLL     PINJ      Review production dated 2-20-23 and upload to             0.90       545.00        $490.50
                                Everlaw.
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 02/24/2023   GNB     PINJ      Analyze documents produced by Debtor on                 0.20       975.00         $195.00
                                February 1.

 02/24/2023   KHB     PINJ      Prepare for C. Moore deposition (7.3); email to E.      7.90      1525.00       $12,047.50
                                Stephens re stipulation on admissibility of exhibits
                                (.3); email with G. Greenwood re same (.3).

 02/24/2023   LSC     PINJ      Email G. Greenwood (.1) and transmit                    0.40       545.00         $218.00
                                correspondence to attorneys regarding upcoming
                                deposition on 2/28 (.3).

 02/24/2023   KBD     PINJ      Analyze discovery materials relating to preliminary     0.50      1395.00         $697.50
                                injunction motion.

 02/24/2023   BMM     PINJ      Review documents to assist in prep for C. Moore         0.70       875.00         $612.50
                                deposition.

 02/24/2023   BMM     PINJ      Review productions to assist in prep for C. Moore       1.80       875.00        $1,575.00
                                deposition.

 02/25/2023   KHB     PINJ      Call with G. Greenwood regarding C. Moore               0.20      1525.00         $305.00
                                deposition issues

 02/25/2023   GSG     PINJ      Email to/from C. Tergevorkian re insurance              0.10      1095.00         $109.50
                                spreadsheet.

 02/25/2023   GSG     PINJ      Draft stipulation re admissible evidence.               1.90      1095.00        $2,080.50

 02/25/2023   GSG     PINJ      Email E. Stephens re interrogatory verification.        0.20      1095.00         $219.00

 02/25/2023   GSG     PINJ      Telephone call with court reporter and telephone        0.30      1095.00         $328.50
                                with L. Canty re exhibits, timing, and calendar.

 02/25/2023   GSG     PINJ      Email PSZJ team re insurance schedules.                 0.20      1095.00         $219.00

 02/25/2023   GSG     PINJ      Review and respond to emails (3) to/from J. Bair re     0.90      1095.00         $985.50
                                insurance schedules.

 02/25/2023   GSG     PINJ      Prepare additional insurance schedules re coverage.     0.40      1095.00         $438.00

 02/25/2023   GSG     PINJ      Email K. Brown re additional depo exhibit and           0.20      1095.00         $219.00
                                questions.

 02/25/2023   GSG     PINJ      Email E. Stephens re insurance schedules.               0.40      1095.00         $438.00

 02/25/2023   GSG     PINJ      Review emails and production re additional              0.20      1095.00         $219.00
                                discovery.

 02/25/2023   GSG     PINJ      Emails to/from L. Canty and E. Stephens re C.           0.30      1095.00         $328.50
                                Moore depo.

 02/25/2023   GSG     PINJ      Telephone call with court reporter re C. Moore depo.    0.10      1095.00         $109.50
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 02/25/2023   GSG     PINJ      Draft outline re E. Stephens deposition.                0.50      1095.00        $547.50

 02/25/2023   GSG     PINJ      Telephone call with K. Brown re C. Moore depo.          0.20      1095.00        $219.00

 02/25/2023   GSG     PINJ      Review B. Michael analysis re document                  0.30      1095.00        $328.50
                                productions.

 02/25/2023   GSG     PINJ      Review/revise C. Moore outline and exhibits.            1.40      1095.00       $1,533.00

 02/25/2023   GSG     PINJ      Revise exhibits re C. Moore and confer with M.          0.50      1095.00        $547.50
                                Renck re same.

 02/25/2023   GSG     PINJ      Revise deposition outline re C. Moore and state         2.60      1095.00       $2,847.00
                                court pleadings/discovery.

 02/26/2023   IAWN PINJ         Review preliminary injunction objection and             1.40      1395.00       $1,953.00
                                comment regarding same to team.

 02/26/2023   KBD     PINJ      Analyze deposition outlines relating to preliminary     0.30      1395.00        $418.50
                                injunction.

 02/27/2023   JIS     PINJ      Call Ken Brown regarding preliminary injunction         0.20      1695.00        $339.00
                                deposition preparation.

 02/27/2023   JIS     PINJ      Call Gail Greenwood regarding injunction                0.10      1695.00        $169.50
                                opposition.

 02/27/2023   JIS     PINJ      Draft email to state court counsel regarding C.         0.20      1695.00        $339.00
                                Moore deposition.

 02/27/2023   KHB     PINJ      Confer with J. Stang re SCC participation in            6.30      1525.00       $9,607.50
                                depositions (.2); emails with SCC re same (.3); call
                                with SCC re C. Moore deposition (.4) and prepare
                                for C. Moore deposition (5.4).

 02/27/2023   GSG     PINJ      Revise index, outline, and confer with M. Renck re      0.40      1095.00        $438.00
                                exhibits.

 02/27/2023   GSG     PINJ      Emails to/from court reporter re exhibits and           0.30      1095.00        $328.50
                                scheduling.

 02/27/2023   GSG     PINJ      Review schedules re insurance/Ecclesia issues.          0.80      1095.00        $876.00

 02/27/2023   GSG     PINJ      Call with SCC re depo scheduling and questions.         0.40      1095.00        $438.00

 02/27/2023   GSG     PINJ      Revise index re identification of documents by bates    0.50      1095.00        $547.50
                                number.

 02/27/2023   GSG     PINJ      Draft E. Stephens depo outline.                         5.80      1095.00       $6,351.00

 02/27/2023   GSG     PINJ      Review/revise C. Moore outline re complaints and        0.30      1095.00        $328.50
                                add exhibit.
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 02/27/2023   GSG     PINJ      Call with J. Stang re opposition brief.                  0.10      1095.00          $109.50

 02/27/2023   KBD     PINJ      Analyze discovery/legal issues relating to               0.50      1395.00          $697.50
                                preliminary injunction.

 02/28/2023   IAWN PINJ         Review discovery responses regarding Porter.             0.80      1395.00         $1,116.00

 02/28/2023   IAWN PINJ         Attend C. Moore deposition regarding Chapin (part        0.30      1395.00          $418.50
                                of).

 02/28/2023   IAWN PINJ         Attend C. Moore depostion regarding Chapin (part         0.50      1395.00          $697.50
                                of).

 02/28/2023   IAWN PINJ         Telephone call with J. Stang regarding insurance and     0.20      1395.00          $279.00
                                depositions.

 02/28/2023   IAWN PINJ         Exchange emails with G. Greenwood regarding              0.20      1395.00          $279.00
                                limitations on testimony.

 02/28/2023   JIS     PINJ      (Partial) Attend deposition of C. Moore.                 0.30      1695.00          $508.50

 02/28/2023   JIS     PINJ      Call I. Nasatir regarding C. Moore depo and              0.20      1695.00          $339.00
                                upcoming Debtor deposition.

 02/28/2023   KHB     PINJ      Prepare for C. Moore deposition (.3); take C. Moore      5.20      1525.00         $7,930.00
                                deposition (4.6); review administrative services
                                agreements (.3).

 02/28/2023   GSG     PINJ      Emails with TSG re depo logistics.                       0.20      1095.00          $219.00

 02/28/2023   GSG     PINJ      Draft outline re E. Stephens deposition.                 2.90      1095.00         $3,175.50

 02/28/2023   GSG     PINJ      Telephonic attendance at C. Moore deposition.            4.10      1095.00         $4,489.50

 02/28/2023   GSG     PINJ      Review notes and summarize highlights re C. Moore        1.00      1095.00         $1,095.00
                                testimony.

 02/28/2023   GSG     PINJ      Review state court docket re status and pleadings,       0.40      1095.00          $438.00
                                and confer with K. LaBrada re same.

 02/28/2023   KBD     PINJ      Attend C. Moore deposition (for part).                   0.50      1395.00          $697.50

 02/28/2023   BMM     PINJ      (Partial) Participate in deposition of C. Moore.         2.10       875.00         $1,837.50

 02/28/2023   BMM     PINJ      (Partial) Participate in deposition of C. Moore.         0.40       875.00          $350.00

                                                                                       205.90                    $245,174.50

  Ret. of Prof./Other
 02/13/2023   GNB     RPO       Read Law360 article regarding Epiq’s disclosure of       0.10       975.00           $97.50
                                confidential survivor names in Diocese of Norwich
                                and email PSZJ team regarding same.
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 02/13/2023   GNB     RPO       Research Epiq personnel in charge of Diocese of           0.30        975.00        $292.50
                                Rockville Centre case.

 02/13/2023   GNB     RPO       Draft letter to Epiq regarding assurances of              0.60        975.00        $585.00
                                confidentiality of survivor personally identifying
                                information (.5); Draft email to J. Stang, K. Dine,
                                and B. Michael regarding same (.1).

 02/14/2023   GNB     RPO       Email with PSZJ team regarding Epiq                       0.20        975.00        $195.00
                                confidentiality of survivor personally identifying
                                information (.1); Revise letter to Epiq in accordance
                                with same (.1).

 02/16/2023   KBD     RPO       Attention to matters relating to Epic confidentiality.    0.30       1395.00        $418.50

 02/16/2023   GNB     RPO       Finalize letter to Epiq regarding confidentiality         0.10        975.00         $97.50
                                protocols.

                                                                                           1.60                    $1,686.00

  Seminary Transfers
 02/02/2023   KHB     SEM       Emails with W. Heuer re settlement discussions.           0.30       1525.00        $457.50

 02/09/2023   KBD     SEM       Review correspondence among PSZJ and Seminary             0.20       1395.00        $279.00
                                counsel regarding status.

                                                                                           0.50                     $736.50

  TOTAL SERVICES FOR THIS MATTER:                                                                           $1,140,389.50
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 Expenses
 10/05/2022   AF         Air Fare [E110] United Airlines, Tkt. #0162437146690,             450.00
                         From LAX/EWR, IAWN
 10/06/2022   AF         Air Fare [E110] United Airlines, Tkt.#0167782825599, From         549.30
                         EWR/LAX, IAWN
 11/16/2022   TE         Travel Expense [E110] Buffalo, NY- Depew Station to New,          326.00
                         NY, Moynihan train Hall at Pen, (travel dates 1/2 -1/7),
                         Committee Member
 11/16/2022   TE         Travel Expense [E110] Trip insurance (travel dates 1/2 -1/7),      78.00
                         Committee Member
 11/28/2022   OS         Mobile Parcel Carriers Inc., Inv. 237866, K. Dine                  15.00
 01/02/2023   AT         Auto Travel Expense [E109] Uber Transportation Services,           26.93
                         KBD
 01/02/2023   AT         Auto Travel Expense [E109] Uber Transportation Services,            4.03
                         KBD
 01/06/2023   AT         Auto Travel Expense [E109] Creative Mobile, KBD                    31.03
 01/07/2023   AT         Auto Travel Expense [E109] Creative Mobile, KBD                    17.70
 01/07/2023   AT         Auto Travel Expense [E109] Creative Mobile, KBD                    31.74
 01/13/2023   CC         Conference Call [E105] AT&T Conference Call, GSG                    2.31
 01/20/2023   OS         Mobile Parcel Carriers Inc., Inv. 239018                           15.00
 01/21/2023   BM         Business Meal [E111Misc. meals on trip(Travel dates 1/2            43.20
                         -1/7), Committee Member
 01/21/2023   TE         Travel Expense [E110] Gas,(Travel dates 1/2 -1/7),                 43.51
                         Committee Member
 01/23/2023   OS         Mobile Parcel Carriers Inc., Inv. 239018                           15.00
 01/26/2023   AT         Auto Travel Expense [E109] Uber Transportation Services,            3.00
                         KBD
 02/01/2023   LN         18491.00002 Lexis Charges for 02-01-23                             17.79
 02/01/2023   LN         18491.00002 Lexis Charges for 02-01-23                              4.77
 02/01/2023   LN         18491.00002 Lexis Charges for 02-01-23                              4.77
 02/01/2023   LN         18491.00002 Lexis Charges for 02-01-23                              8.80
 02/01/2023   LN         18491.00002 Lexis Charges for 02-01-23                             12.40
 02/01/2023   RE2        SCAN/COPY ( 5 @0.10 PER PG)                                         0.50
 02/01/2023   RE2        SCAN/COPY ( 13 @0.10 PER PG)                                        1.30
 02/01/2023   RE2        SCAN/COPY ( 8 @0.10 PER PG)                                         0.80
 02/01/2023   RE2        SCAN/COPY ( 13 @0.10 PER PG)                                        1.30
 02/01/2023   RE2        SCAN/COPY ( 8 @0.10 PER PG)                                         0.80
 02/01/2023   RE2        SCAN/COPY ( 5 @0.10 PER PG)                                         0.50
 02/03/2023   LN         18491.00002 Lexis Charges for 02-03-23                             12.40
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 02/03/2023   RE2        SCAN/COPY ( 30 @0.10 PER PG)                                 3.00
 02/03/2023   RE2        SCAN/COPY ( 6 @0.10 PER PG)                                  0.60
 02/03/2023   RE2        SCAN/COPY ( 10 @0.10 PER PG)                                 1.00
 02/03/2023   RE2        SCAN/COPY ( 6 @0.10 PER PG)                                  0.60
 02/03/2023   RE2        SCAN/COPY ( 6 @0.10 PER PG)                                  0.60
 02/03/2023   RE2        SCAN/COPY ( 21 @0.10 PER PG)                                 2.10
 02/03/2023   RE2        SCAN/COPY ( 3 @0.10 PER PG)                                  0.30
 02/03/2023   RE2        SCAN/COPY ( 90 @0.10 PER PG)                                 9.00
 02/03/2023   RE2        SCAN/COPY ( 136 @0.10 PER PG)                               13.60
 02/03/2023   RE2        SCAN/COPY ( 11 @0.10 PER PG)                                 1.10
 02/03/2023   RE2        SCAN/COPY ( 327 @0.10 PER PG)                               32.70
 02/03/2023   RE2        SCAN/COPY ( 114 @0.10 PER PG)                               11.40
 02/03/2023   RE2        SCAN/COPY ( 327 @0.10 PER PG)                               32.70
 02/03/2023   RE2        SCAN/COPY ( 3 @0.10 PER PG)                                  0.30
 02/03/2023   RE2        SCAN/COPY ( 3 @0.10 PER PG)                                  0.30
 02/03/2023   RE2        SCAN/COPY ( 192 @0.10 PER PG)                               19.20
 02/03/2023   RE2        SCAN/COPY ( 15 @0.10 PER PG)                                 1.50
 02/03/2023   RE2        SCAN/COPY ( 3 @0.10 PER PG)                                  0.30
 02/03/2023   RE2        SCAN/COPY ( 3 @0.10 PER PG)                                  0.30
 02/03/2023   RE2        SCAN/COPY ( 3 @0.10 PER PG)                                  0.30
 02/03/2023   RE2        SCAN/COPY ( 33 @0.10 PER PG)                                 3.30
 02/03/2023   RE2        SCAN/COPY ( 6 @0.10 PER PG)                                  0.60
 02/03/2023   RE2        SCAN/COPY ( 36 @0.10 PER PG)                                 3.60
 02/03/2023   RE2        SCAN/COPY ( 3 @0.10 PER PG)                                  0.30
 02/03/2023   RE2        SCAN/COPY ( 3 @0.10 PER PG)                                  0.30
 02/03/2023   RE2        SCAN/COPY ( 192 @0.10 PER PG)                               19.20
 02/05/2023   LN         18491.00002 Lexis Charges for 02-05-23                       4.77
 02/06/2023   LN         18491.00002 Lexis Charges for 02-06-23                      26.69
 02/06/2023   LN         18491.00002 Lexis Charges for 02-06-23                      14.31
 02/07/2023   LN         18491.00002 Lexis Charges for 02-07-23                       8.91
 02/07/2023   LN         18491.00002 Lexis Charges for 02-07-23                       8.54
 02/07/2023   LN         18491.00002 Lexis Charges for 02-07-23                       2.64
 02/07/2023   LN         18491.00002 Lexis Charges for 02-07-23                      12.40
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 02/07/2023   OS         Press Release, Inv. 133, S. Horowitz                       1,820.00
 02/08/2023   LN         18491.00002 Lexis Charges for 02-08-23                         7.82
 02/10/2023   LN         18491.00002 Lexis Charges for 02-10-23                         1.76
 02/10/2023   LN         18491.00002 Lexis Charges for 02-10-23                        12.41
 02/10/2023   PO         LA Postage                                                    11.52
 02/10/2023   RE2        SCAN/COPY ( 13 @0.10 PER PG)                                   1.30
 02/10/2023   RE2        SCAN/COPY ( 12 @0.10 PER PG)                                   1.20
 02/10/2023   RE2        SCAN/COPY ( 1 @0.10 PER PG)                                    0.10
 02/10/2023   RE2        SCAN/COPY ( 1 @0.10 PER PG)                                    0.10
 02/10/2023   RE2        SCAN/COPY ( 11 @0.10 PER PG)                                   1.10
 02/10/2023   RE2        SCAN/COPY ( 78 @0.10 PER PG)                                   7.80
 02/10/2023   RE2        SCAN/COPY ( 138 @0.10 PER PG)                                 13.80
 02/11/2023   LN         18491.00002 Lexis Charges for 02-11-23                        26.69
 02/13/2023   AT         Auto Travel Expense [E109] Alto Transportation Services,      84.97
                         JIS
 02/13/2023   LN         18491.00002 Lexis Charges for 02-13-23                        31.26
 02/13/2023   LN         18491.00002 Lexis Charges for 02-13-23                         3.52
 02/13/2023   LN         18491.00002 Lexis Charges for 02-13-23                        12.41
 02/13/2023   LN         18491.00002 Lexis Charges for 02-13-23                        50.52
 02/13/2023   RE2        SCAN/COPY ( 171 @0.10 PER PG)                                 17.10
 02/13/2023   RE2        SCAN/COPY ( 93 @0.10 PER PG)                                   9.30
 02/14/2023   RE2        SCAN/COPY ( 13 @0.10 PER PG)                                   1.30
 02/15/2023   FE         18491.00002 FedEx Charges for 02-15-23                        31.93
 02/16/2023   FE         18491.00002 FedEx Charges for 02-16-23                        46.07
 02/16/2023   LN         18491.00002 Lexis Charges for 02-16-23                        26.69
 02/16/2023   LN         18491.00002 Lexis Charges for 02-16-23                         6.16
 02/16/2023   LN         18491.00002 Lexis Charges for 02-16-23                        12.41
 02/16/2023   LN         18491.00002 Lexis Charges for 02-16-23                         0.96
 02/16/2023   LN         18491.00002 Lexis Charges for 02-16-23                         0.96
 02/16/2023   LN         18491.00002 Lexis Charges for 02-16-23                        40.54
 02/16/2023   LN         18491.00002 Lexis Charges for 02-16-23                        54.63
 02/16/2023   LN         18491.00002 Lexis Charges for 02-16-23                       150.21
 02/17/2023   LN         18491.00002 Lexis Charges for 02-17-23                        26.69
 02/17/2023   PO         LA Postage                                                     3.36
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 02/17/2023   RE2        SCAN/COPY ( 23 @0.10 PER PG)                                   2.30
 02/17/2023   RE2        SCAN/COPY ( 3 @0.10 PER PG)                                    0.30
 02/17/2023   RE2        SCAN/COPY ( 2 @0.10 PER PG)                                    0.20
 02/17/2023   RE2        SCAN/COPY ( 156 @0.10 PER PG)                                15.60
 02/17/2023   RE2        SCAN/COPY ( 138 @0.10 PER PG)                                13.80
 02/20/2023   LN         18491.00002 Lexis Charges for 02-20-23                       13.51
 02/20/2023   LN         18491.00002 Lexis Charges for 02-20-23                       27.30
 02/21/2023   LN         18491.00002 Lexis Charges for 02-21-23                       23.46
 02/21/2023   OS         Rock Creek Advisors, Inv. 1777, JIS                       19,597.50
 02/21/2023   RE2        SCAN/COPY ( 20 @0.10 PER PG)                                   2.00
 02/21/2023   RE2        SCAN/COPY ( 11 @0.10 PER PG)                                   1.10
 02/21/2023   RE2        SCAN/COPY ( 25 @0.10 PER PG)                                   2.50
 02/21/2023   RE2        SCAN/COPY ( 22 @0.10 PER PG)                                   2.20
 02/21/2023   RE2        SCAN/COPY ( 22 @0.10 PER PG)                                   2.20
 02/21/2023   RE2        SCAN/COPY ( 28 @0.10 PER PG)                                   2.80
 02/21/2023   RE2        SCAN/COPY ( 98 @0.10 PER PG)                                   9.80
 02/21/2023   RE2        SCAN/COPY ( 28 @0.10 PER PG)                                   2.80
 02/21/2023   RE2        SCAN/COPY ( 26 @0.10 PER PG)                                   2.60
 02/21/2023   RE2        SCAN/COPY ( 22 @0.10 PER PG)                                   2.20
 02/21/2023   RE2        SCAN/COPY ( 2 @0.10 PER PG)                                    0.20
 02/22/2023   LN         18491.00002 Lexis Charges for 02-22-23                       15.67
 02/22/2023   LN         18491.00002 Lexis Charges for 02-22-23                         8.91
 02/22/2023   RE2        SCAN/COPY ( 11 @0.10 PER PG)                                   1.10
 02/22/2023   RE2        SCAN/COPY ( 11 @0.10 PER PG)                                   1.10
 02/22/2023   RE2        SCAN/COPY ( 10 @0.10 PER PG)                                   1.00
 02/22/2023   RE2        SCAN/COPY ( 10 @0.10 PER PG)                                   1.00
 02/22/2023   RE2        SCAN/COPY ( 9 @0.10 PER PG)                                    0.90
 02/22/2023   RE2        SCAN/COPY ( 1 @0.10 PER PG)                                    0.10
 02/22/2023   RE2        SCAN/COPY ( 95 @0.10 PER PG)                                   9.50
 02/22/2023   RE2        SCAN/COPY ( 39 @0.10 PER PG)                                   3.90
 02/22/2023   RE2        SCAN/COPY ( 13 @0.10 PER PG)                                   1.30
 02/22/2023   RE2        SCAN/COPY ( 9 @0.10 PER PG)                                    0.90
 02/22/2023   RE2        SCAN/COPY ( 8 @0.10 PER PG)                                    0.80
 02/22/2023   RE2        SCAN/COPY ( 12 @0.10 PER PG)                                   1.20
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 02/22/2023   RE2        SCAN/COPY ( 12 @0.10 PER PG)                                  1.20
 02/22/2023   RE2        SCAN/COPY ( 36 @0.10 PER PG)                                  3.60
 02/22/2023   RE2        SCAN/COPY ( 42 @0.10 PER PG)                                  4.20
 02/22/2023   RE2        SCAN/COPY ( 11 @0.10 PER PG)                                  1.10
 02/22/2023   RE2        SCAN/COPY ( 9 @0.10 PER PG)                                   0.90
 02/22/2023   RE2        SCAN/COPY ( 12 @0.10 PER PG)                                  1.20
 02/22/2023   RE2        SCAN/COPY ( 6 @0.10 PER PG)                                   0.60
 02/22/2023   RE2        SCAN/COPY ( 5 @0.10 PER PG)                                   0.50
 02/22/2023   RE2        SCAN/COPY ( 2 @0.10 PER PG)                                   0.20
 02/22/2023   RE2        SCAN/COPY ( 6 @0.10 PER PG)                                   0.60
 02/22/2023   RE2        SCAN/COPY ( 11 @0.10 PER PG)                                  1.10
 02/22/2023   RE2        SCAN/COPY ( 9 @0.10 PER PG)                                   0.90
 02/22/2023   RE2        SCAN/COPY ( 10 @0.10 PER PG)                                  1.00
 02/22/2023   RE2        SCAN/COPY ( 1 @0.10 PER PG)                                   0.10
 02/22/2023   RE2        SCAN/COPY ( 1 @0.10 PER PG)                                   0.10
 02/22/2023   RE2        SCAN/COPY ( 17 @0.10 PER PG)                                  1.70
 02/22/2023   RE2        SCAN/COPY ( 16 @0.10 PER PG)                                  1.60
 02/22/2023   RE2        SCAN/COPY ( 8 @0.10 PER PG)                                   0.80
 02/23/2023   LN         18491.00002 Lexis Charges for 02-23-23                       17.79
 02/23/2023   LN         18491.00002 Lexis Charges for 02-23-23                        0.96
 02/23/2023   LN         18491.00002 Lexis Charges for 02-23-23                       27.02
 02/23/2023   LN         18491.00002 Lexis Charges for 02-23-23                       13.66
 02/24/2023   RS         Research [E106] Cl@s Information Services, Inv.              90.50
                         459958-29642, K. LaBrada
 02/25/2023   LN         18491.00002 Lexis Charges for 02-25-23                       46.98
 02/26/2023   LN         18491.00002 Lexis Charges for 02-26-23                      160.56
 02/26/2023   LN         18491.00002 Lexis Charges for 02-26-23                        0.33
 02/26/2023   LN         18491.00002 Lexis Charges for 02-26-23                        4.37
 02/27/2023   BB         18491.00002 Bloomberg Charges through 02-27-23               10.00
 02/27/2023   LN         18491.00002 Lexis Charges for 02-27-23                        8.54
 02/27/2023   LN         18491.00002 Lexis Charges for 02-27-23                       35.59
 02/27/2023   LN         18491.00002 Lexis Charges for 02-27-23                       65.55
 02/27/2023   RE2        SCAN/COPY ( 12 @0.10 PER PG)                                  1.20
 02/27/2023   RE2        SCAN/COPY ( 29 @0.10 PER PG)                                  2.90
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 02/27/2023   RE2        SCAN/COPY ( 6 @0.10 PER PG)                                          0.60
 02/27/2023   RE2        SCAN/COPY ( 90 @0.10 PER PG)                                         9.00
 02/27/2023   RE2        SCAN/COPY ( 10 @0.10 PER PG)                                         1.00
 02/27/2023   RE2        SCAN/COPY ( 95 @0.10 PER PG)                                         9.50
 02/27/2023   RE2        SCAN/COPY ( 42 @0.10 PER PG)                                         4.20
 02/27/2023   RE2        SCAN/COPY ( 13 @0.10 PER PG)                                         1.30
 02/27/2023   RE2        SCAN/COPY ( 39 @0.10 PER PG)                                         3.90
 02/27/2023   RE2        SCAN/COPY ( 36 @0.10 PER PG)                                         3.60
 02/27/2023   RE2        SCAN/COPY ( 11 @0.10 PER PG)                                         1.10
 02/27/2023   RE2        SCAN/COPY ( 5 @0.10 PER PG)                                          0.50
 02/27/2023   RE2        SCAN/COPY ( 1 @0.10 PER PG)                                          0.10
 02/28/2023   LN         18491.00002 Lexis Charges for 02-28-23                               4.19
 02/28/2023   OS         Actuarial Value, LLc, Inv.#7                                     1,875.00
 02/28/2023   OS         Everlaw, Inv. 76002, Diocese of Rockville database for the       6,292.00
                         month of February
 02/28/2023   PAC        Pacer - Court Research                                              14.60
 02/28/2023   PO         LA Postage                                                          20.34
 02/28/2023   RE2        SCAN/COPY ( 29 @0.10 PER PG)                                         2.90
 02/28/2023   RE2        SCAN/COPY ( 1 @0.10 PER PG)                                          0.10
 02/28/2023   RE2        SCAN/COPY ( 80 @0.10 PER PG)                                         8.00
 02/28/2023   RE2        SCAN/COPY ( 51 @0.10 PER PG)                                         5.10
 02/28/2023   RE2        SCAN/COPY ( 1 @0.10 PER PG)                                          0.10
 02/28/2023   RE2        Reproduction Scan Copy - Equitrac                                  211.00
 02/28/2023   RE2        SCAN/COPY ( 545 @0.10 PER PG)                                       54.50
 02/28/2023   TR         Transcript [E116] TSG Reporting, Inv. 2106074, KHB               2,379.05
 02/28/2023   TR         Transcript [E116] TSG Reporting, Inv. 2106075, KHB                 765.00
 02/28/2023   TR         Transcript [E116] TSG Reporting, Inv. 2106076, KHB                 825.00

   Total Expenses for this Matter                                                     $37,241.71
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                                                REMITTANCE ADVICE

                                    Please include this Remittance with your payment

For current services rendered through:        02/28/2023

Total Fees                                                                                         $1,140,389.50

Total Expenses                                                                                         37,241.71

Total Due on Current Invoice                                                                       $1,177,631.21

  Outstanding Balance from prior invoices as of        03/20/2023          (May not include recent payments)

A/R Bill Number           Invoice Date               Fees Billed        Expenses Billed             Balance Due
 131278                   10/31/2022               $535,306.50         $335,664.40                   $107,061.30

 131417                   11/30/2022               $611,937.50         $115,944.55                   $122,387.50

 131565                   12/31/2022               $585,075.50           $8,798.32                   $117,015.10

 131783                   01/31/2023             $1,318,410.00         $178,736.15                 $1,497,146.15

             Total Amount Due on Current and Prior Invoices:                                       $3,021,241.26
